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                ~j~ +... ~~
                                                                                                          federal bureau of lnvesti~,~t~on


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~r Mat~i~n Kose Aron




                           N OTICE OF ~EIZU~RE pF PROPERTY Af~D 1~1ITEATION OF
                               A DMIfit1STR~1'IIiE FORFEITURE PROCEED#MGM
                                  SEI~~D PROPERTY IDEI~TIf'Ft~tG ~tv~r~annar~~~
                     IJotice C7ate; May P1., 2021                           Asset ID Number: Multiple:Assets

                     Notice Letter tD: 264440(use iD when searching for assets during aniine filing)
                     Descrlpfion of Se(zed Prflpe~'ty; See Attached List

                     Seizure Date and ~.oeatfon, See Attached List
                     Forf~itUre AutHority: See Attached List
                                                                                                                                                    H PARDONS ALL
                                                                                R PETITIONS.POR REMH3$i0N {~R MITIOATInN,WHIC
     1 THE GfJYERIJM~NT MF1Y CONSIDER tiR`.ANTIN
     .                                                                                 1RE.
       OR'PARt OF THE PFiOPEFiTY FRO                          M   THE    FORF  E174
                                                                                                                                          CSR MITIG/YT10N
                                                                            Y YOU MUST ~IL~ A PETITFON FOt~ R~MIS$1~7N
       TO REQUEST A PRRDON OF THE RROP'ERT
                                                                                                                               ssion or Miti{~etion {Pelitlon). It you file
                                                                        (see section II below) and a Petition for Remi
       A, What to Ffle: You may file both a elafm , your petition wUl be decided by the seizing agency.
             only a PaGtion and no one elsa 81es a alairn                                                                      l5ervlce or a Commercial Delivery
                                                                   d be filed online- or by mailing tt via the U.S. Pasta
       B, To File a Petkion: A pe~tion shoul ligakign (FBI), Attu; Forfeltuce Paralega4 SpecJafist, 11000 wflshire Blvd. Swile 1700,
             Service to the federal Bureau of fnve;> received no later{han 71:59,FM EST thjrty (3Q) days of your receipt of lhls Notice.
                                                                       be
             FOB, LosAngeles, CA 90U24. Ik must
             See 28 C.F:R. ParC~ 8.and 9.                                                                       ypur l~teresC in the. property supported by
                                                                 petition must Ificlude a aesat pticn of                                                   to the penalty
        C, Requirements for Petition: The belLsve,justiiy the: return.of the praparty and be slgc~ed vender oath, sub)ect.
             doeumAtttatlOn and any tuts you o±"sn unsw~rn statementundei penalty,of.perjury, See Z81J:5.G., § 174s
                                                               ts
             of perjury or meet the requiremen
                                                                                                                          ard petition form and the link to file the
                                   s;   A   petiti  on need     not  ae  made    in any particwlar form but a stand wish to file a petition oNine for the assets
        D. PeTitfon Form                                                                                          ~, If you
                                                            IntUS:/iwww,forfeiture:r~~vlFilirraPeiftion,h
              petition onl{ne are available at {elb~r, please use,the No3tce Letter 1D referenoed above.
                                                  Ilst of  this                                                                                                k or bank
              referenced in the asset                                                                               evidence (for example, title paperwor
                                Evid    Once    :  E~Ith   oU9h   not  required, you may submR supportingpetition.
        E. Sugportil~,q                                est in tfte:>ei~ed propel!)to substa
                                                                                                     r~tlate: your
              ter,~rds showing your Inter                                                                                                  an attorney to represent you
                                                                      need  an  atto   may  to fUe a  Ratition. You may, houvever, hiFe
                                  Requ    ired    :  You    do  nat
         F. No ~tLtorney                                                                                                                                            Unft,
                                                                                                                                the Unit Chief, Legal Forfeiture
               in filing a petlfioa.
                                                                     iuKn g offici al fn:aci mi~i5trative forfeiCuce cases is , Ivioney LaundeHng and Asset
                                            AwthorlCy; The                                                          s is the Chief
         G. Petltfen Granting Couns~i. The rulUtg official in judiaSl foriefture case
                Office of the General                                        Amen    t  of Justi ce.  See  28 C.F:R. § 9.1.
                                                     nal Divisior, ~epe                                                                                         are avai a e
                Recovery Section, Crimi                                                                           ess are set forth  in 28 C.F.R. Part 9, end
                                                             e     ec~          govert+kag the Petltian R[nc                    ---- -               --                __
          H~ Regulations for Petition:                                                                                                                     petiti oner to
                at wnvw.torfieiture,aoY.                                                                                         malion mBy subject the
                                                                rlvci  lous Petit   lens:   A petition confining false infor
                                                False or      fi
          ~• Pertaltles for Flling unde                r 18U:S.~ _ § 100.1 and iB
                                                                                            U.S.C. § 18a1.                                 petttlon in writing at the addr
                                                                                                                                                                           ess
                 CflRrinal pros.eCUtfon                                                the  d9sic ed  ssset e Donne, you must Nle your Ftequent~l Asked (3uestions at
                                            xclti+sians; If you ctmnot findassets aan be petitioned.online Rl~esa see the
           J, Onllna Petltion:E                                              what
                 listed  above     .  FoF   iTiofE dEtalls regauding
                           4'+4'.^ NPoffei tt~t~e  t~4v/F il'+1~ 1 e~1g~~FA sttitt~t.
                                                                 ]
                  htt~4'11
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 3 of 46 Page ID #:883




  Mc Marion Ross Arom                                             Notice ofSeizure


  II. TO CONTEST THE FORFEITURE OF Tlif~ P~tOPERTY IM UNITED STATES DISTRICT COi1RT YOU WIUS7 FItE A CL~kIM, If
      you do noffile a clelm,, you wilt w&lve,~!our)ighl to contest the foAerfure.oP the asset. ~ddlh'onalln if no otlierclaims are filed you may not
      be able to confe~st the fr~rfeiture.afthis assE~t in any otherproceed~p, cifminal or~ v1vp.

      A.  Ta Ftfe a 8ta{rn::A claim tt~ust be filed Co conCest the forfeltur~, A clalrrl should be 111ed orilihe or`bp mailing it via fhe U.S.
          PosGel ~~rvlce .or a Gommerc~al belirFery ~~rvite ~ the FBI; At~n: Furf~itwre Paralegal: Specialist, 11006 Wfshir~,Blvd. quite
          17OQ, F08,L:as Angeles, G,4 9nn24.
       B. Time Llrntts: A cls(m must be filed within 35 days.of tha date of this letter, therefore, you must file your clsirn by 11:59 PM
          E3T on Junk 26, 2021. See 18 U..~,C. § 983(a}(2), A clam is deemed filed on the date received by the agency at the
          address listed above.
;~:,:~.
      ~" R ulre~ents for Claim: Aetaim must be filed online.vr in writln~, describe.the seized property, state your ownership or
          oth~fin~l'est in the propett}~ aMd be mHde u rider oath, sutsJect-to penalty of perjury or meet tfie regwirements oP an unsworn
          statement under penalty of pecjW[y. Sep 18 U,.3.C.§ 393~~)(2)(C} ar~d 38 lJ.~:C, § 17d6.
       D. Clalrn. Forms: ~swim need-not be.r~de in;any particular form,:but astandard claim (om~ anal the link to file the claim online
          are available at htt~;//www,~grfeitu~e,s~gv/Filin l~im;h#rr3, ~~e-18 U;S:.C, § 988~~y(2}(D); If you,wish to file a claim online'for
          the assets referenced in,the asset list of this letter, please usa the Alo#ice Letter ID referenced above.

      E.   Supporting Evidence: Although not. required, you may submit supporting evidence (for example, tit}e paperwork or bank
           records showing your interest in thE~ seised propert~r) fo substantiate your claim.
                                                                                                                                            in
      F.   No Attorney Required: Ydu do not need an aktorney to file a claim. You rnay; howevar, hire an attorney to represent you
           filing a claim.
                                                                                                                               forwards the
      G.   Vllhen 1(ou File a Maim: A:timeiy cclair'n strops the administr~atiV9'forf8itur~ proceeding. 'the s8izinq agencyor mft~gation.
                                                 t)FFlc~ forfuriher proceedings,  You  may  also file-a petition for remission
           timely claim to the U.S, AtfoFrrey's.
                                                                                                              -you may be su6Jeet to a civil fine.
      H.     Renaltles for Filing False or:FtN~~iaws Claims: If you antenEfonaf(y fitQ a frivolous claim  you may be subject to criminal
                               983(hj.   IT you inte.nflonally file a claim containing false iniormat~on,
            See 18 U.S.C. §
             prosecution. See 18 11.S.C. ~ 1001.
                                                                                            26, 2021 may result in the property being forfeiEed to
      I.     If No Claim fs Ffled: Failure fo files a claim by 11:59 PM EST pn June
            the United   S{rtes,
                                                                                      ar►11ne, you must hie yor~relalm in writlng and send to the
      J.     Qrrllne Ctaitla Excl.usfior~s: If you canrrot find the desired:assets hs•claimed on11~e-, please see the Frequently Asked
                                           mom   de~t~ils rega.rding.V~h'at gssets can
            `address listed aboue: ~oF
                                                               :_ClaimFAQs.i-tm.
             Questions. at" ~ ://www-farfelture;g_c~u~~flln

                                                              t'~tV'.HARDSHIP
  Ii.I. TO REQUEST RELEASE a~ PROP~R'I'Y BASED
                                                                      a claimant may request release of the seized property during the
        R. HardshFp Release: Upon the filing of ~ proper claim,                                                                            g
                                       proceeding   due to hardship   i( ttae claimant Is able to meet specific conditions. See 18 U.S.C.
           pendency of the forfeiture
           983t~1~ ~a Q.F.R. §.$.i.5.                                                                                     claimantmust establish
                                                        request Cannot b.e flled_online etld rriusYb~e in writing. The
        B. To File Hardship Release; The h<i~dship
            the Paltgwing:
              • Claimant has a possessory interest in tfie property;                                                          of trial;
                                                                    assure that file ~sroperty will be available aE the time
               • Cle1mantfias sutflctent#ies to hie rommunity 4o
                 and
                                                            cause a substantial hardship io the claimant.
               • Gouernm~nt's continued possession will
                                                                                                           at t8 U.S.C, § 9830 and 28 e.F.R. §
                                                      list ofthe hardship provisions can be reviewed
        C. ReguiaHons fir Hards~itp: A complete
             8.1~. Some assets are not eligible for refuse.
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 4 of 46 Page ID #:884




Mr Marion RossArom                                        Notice of Seizure          •~r o~                  ~J ~O
                                                                                                              r
Asset Llst

Seizure Date and LocatEon: The assets)referenced in this notice 18tter were seized on March 22, 2021 by the FBI at U.S. Private
Vaults In Beverly Hilis, Califomla.

Forfeiture Authority: The forfeiture of this property hes been Initlated pursuant to 18 USC 981(a)(1)(C)and the following
additional federal laws: 18 U.S.C. §§ 1602-1813, 18 U.S.C.§ 983 and 28 C.F.R. Parts 8 and 9.

    ASSET ID         ASSET DESCRIPTION                                               ASSET VALUE            ACCTMW/SERIAL NO
21-FBI-003042        5170,175.00 U.3. Curren~:y 6•om Box #4107                         $170,175.00
21-F81-003389        100 Oold Colored Coins($60)from Box #4107                               $1.00
                               700 Gold Colored Coins($50)                                   $1.00
    Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 5 of 46 Page ID #:885

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                                                                                         U.S. Depa           Went of Justice


                                                                                         Federal Bureau of Investigation

                                                                                          Washtrtg~on, DC 20535


                            ,.
Ms. Te        ~




                  NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                     ADMINISTRATI''JE FORFEITURE PROCEEDINGS
                            SEIZED PROPIERTY IDENTIFYING INFORMATION
          Notice Date: May 20, 2021                            Asset ID Number: 21-FBI-003254
          Notice Letter ID: 284164(use ID when searching for assets during online filing)
          Description of Seized Property: $1I3,0OO.QO U.S. Currency from Box #7619
          Seizure date and Location: The as~.et(s) referenced in this notice letter were seized on March 22, 2021 by
          the FBI at U.S. Private Vaults in Beverly Hilis, California.
          Forteiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C} and
          the following additional federal laws: 1!~ U.S.C. §§ 1602-1619, 18 U.S,C,§ 983 and 28 C.F.R. Parts 8 and 9.


I. THE GOVERNMENT MAY CONSIDER GRAf~Ti1VG PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
   OR PART OF THE PROPERTY FROM THE FORFEITURE.

   TO REQUEST A PARDON OF THE PROPEI~:TY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

   A. What to Flle: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
      file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
   B. To File a Petition: A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
                                                                                                                        Blvd. Suite 1700,
      Service to the Federal Bureau of investiclatian (FBI), Attn: Forteiture Parelegal Specialist, 11000 Wilshire
                            CA 90024.   It must  t~~~ received  no later than 11:59 PM  EST  thirty (30) days of your receipt of this Notice.
      FOB, Los Angeles,
      Sae 28 C.F.R. Parts 8 and 9.
                                                                                                                   supported by
   C. Requirements for Petition: The petition must include a description of your Interest In the property
                                                    justify the return of the property and be signed   under  oath, subject to the penalty
      documentation and any facts you believE:
                                                                                                                     § 1748.
      of pery'ury or meet the requirements of ari unsworn statement under penalty of perjury. See 28 U.S.C.
                                                                                                                 form and the link to file the
   D. Petition Fortns: A petition need not be made in any paRicular form but a standard petition
      petition online  are  available at      s://ww~N.forf, eiture.goy,(Fi linmPetition.h tm.  If you wish to file a petition online for the assets
      referenced in the asset list of this letter, ~~lease use the      Notice  Letter ID referenced   above.
                                                                                                                          title paperwork or bank
   E. Supporting Evidence: Although not re:~auired, you may submit supporting evidence (for example,
      r~~4rds_showing your_interest      in the  seiz~:d property)   to substantiate   your  petition.
                                                                        ---                                                a orney o repre~~~t you
   F. No Attorney Required: You do not neE:d an attorney to file a pe4ition. You may, however, hire an
      in feting a petition.
                                                                                                                    Chief, Legal Forfeiture Unit,
   G. Petition Granting Authority: The ruling o~cial in administrative forteiture cases is the Unit Laundering and Asset
       Office of the General   Counsel.     The   ruling official in judicial forfeiture cases  is the Chief, Money
       Recovery Section, Criminal Division, De~~aartment of Justice. See 28 C.F.R. § 9.1.
                                                                                                        forth in 28 C.F.R. Part 9, and are
   H• Regulations for Petition: The Regul~~eions governing the petition process are set
       available at  vrww.forfeitu re.gov.
                                                                                                                  may subject the petition8r to
   ~• Penalties for Filing False or Frlvolou:i Petitions: A petition containing false information
       criminal prosecution under 18 U.S.C. § 1001 and 18 U.S.C. § 1621.
              Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 6 of 46 Page ID #:886



  Ms. Terra Boyd
                                                                   Notice of Seizure

         J. Online Petition Exclusions: If you canrn~t find
                                                              the desired assets online, you must file your petition in writing at
            address listed above. For more details regarding what                                                                  the
                                                                     assets can be petitioned online, please see the Frequently
            Questions at     s:!/vuww.forfeitur~aov/FiligPetitiortFAK~g.htm.                                                        Asked

 II. TO CONTEST THE FORFEITURE OF THIS PI;tOPE
                                                                   RTY IN UNITED 3TATE3 DISTRICT COURT YOU MUST FILE
     !f you do not Ble a claim, you wil! waive your right to contest                                                                     A CLAIM.
                                                                      the forfeiture of the asset. AddltionaNy, it no other claims are filed,
      not be able to Contest the forfeitur9 of this asset i;i any other                                                                       you may
                                                                        proceeding, criminal or civil.
         A.
         To File a Claim: A claim must be filed to contest the fo►feiture
                                                                             . A claim should be filed online or by mailing it via the U.S.
         Postal Service or a Commercial Delivery ;iervice to the F61,
                                                                          Attn: Forteiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
         1700, FOB, Los Angeles, CA 90024.
     B. Time Limib: A claim must be filed within 35 days of the
                                                                        date of this letter;
         EST on June 24, 2021. See 18 U.S.C. § 98<I(a)(2). A claim is deemed therefore, you must file your claim by 11:59 PM
                                                                                          filed on the date received by the agency at the
         address listed above.
     C. Requirements for Claim: A claim must tie filed online or in
                                                                           writing, describe the seized property, state your ownership or
        other Interest in the property and be made under oath, subject to penalty
                                                                                           of perjury or meet the requirements of an unswom
        statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28
                                                                                           U.S.C. § 1748.
     D. Claim Forms: A claim need not be mad~a in r~ny particular form,
                                                                                but a standard claim form and the link to file the claim online
        are available at htt~as://www,fortelture.govi1~ilinqClaim,htm. See 18 U.S.C. 983(a)(2
        for the assets referenced in the asset Ilsf uF this letter, please use the Notice§Letter )(D). If you wish to file a claim online
                                                                                                    ID referenced above.

    E.         Supporting Evidence: Although not required, you may submit supporting evidence
                                                                                                      (for example, title paperwork or bank
               records showing your interest In the seized property} to substantiate your claim.
    F.         No Attorney Required: You do not need an attorney to file a claim. You may, however,
                                                                                                            hire an attorney to represent you in
               filing a claim.
    G.         When You File a Claim: A timely claim mops the administrative forfeiture proceeding.
                                                                                                          The seizing agency forvvards the
               timely claim to the U.S. Attorney's Office tar further proceedings. You may also file petftlon
                                                                                                    a           for remission or mitigation.
    H.         Penalties for Flling False or Frivolous ~~lairns: If you intentionally file a frivolous claim
                                                                                                             you may be subject to a civil fine.
               See 18 U.S.C. § 983(h). If you intentiorr~lly file a claim containing false information, you may
                                                                                                                be subject to criminal
               prosecution. See 18 U.S.C. § 1001.
    I.         If No CIaIm Is Filed: Failure to file a clalrn by 11:59 PM EST on June 24, 2021 may result In the property
                                                                                                                             being forfeited to
               the United States.
    J.         Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim in writing
                                                                                                                             and send to the
               address listed above. For more details r~~~3arding what assets can be claimed online, please see the Frequently
               Questions at~itt~s:(/www.fo eliureaov/Fi~,~iaClalmFAQs.htm.                                                         Asked

III. TO REQUEST RELEASE OF PROPERTY BA•5ED ON HARDSHIP
   A. Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
      pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C.
                                                                                                                                    §
      9830; 28 C.F.R. § 8.15.
   e, To File Hardship Release: The hardship request cannot be filed online and must be in writing. The claimant
                                                                                                                             must
      establish the following:
         .Claimant has a possessory interest in the property;
         .Claimant has sufficient ties to the comiruni4y to assure that the property will be available at the time of trial;
             and
         •Government's continued possession will cause a substantial hardship to the claimant.
   ~, Regutattons~ lfiar~tsfilp: A complete Os~. of the hardship provisions can be reviewed at 18 U.S.C. § 983(fl and        --
                                                                                                                              28 C.F.R. §
      8,15. Some assets are not eligible for release.




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          Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 7 of 46 Page ID #:887


                                                                                                U.S. De~,artment of Justice


                                                                                                Federal Bureau ofInvestigation


                                                                                                Washrngton, DC 20533
          ,a.~.~.,        ~-~-~...

(~ Ms.Fiona Br~u~~t-
                 -                              "'►



                         NOTICE OF SEIZUfZ~ OF PROPERTY AND INITIATION
                                                                       OF
                            A DMINISTRAI'11~E FORFEITURE PROCEEDINGS
                                     SEIZED PROF~ERTY IDENTIFYING INFOi~MATION
                     Notice Date:. May 20, 2021                  Asset ID Number: 21-FBI-003192
                     Notice Letter ID: 264147 (use ID v~hen searching for assets during
                                                                                        online fi'ing)
                     Description of Seized Property: 9~:i21,500.00 U.S. Currency
                                                                                 from Box #1302
                     Seizure Date and Location: The a;s;;et(s) referenced (n this notice letter were
                                                                                                     seized on March 22, 2021 by the
                     FBI at U.S. Private Vaults in Beverly hliils, California.
                     Forteiture Authority: The forteitur~ of this property has been initiated pursuant
                                                                                                       to 18 USC 981(a)(1)(C) and
                     the following additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 98Q
                                                                                                    and 28 C.F,R. Parts 8 and 9.

    I.   THE GOVERNMENT MAY CONSIDER GIZ4N'TING PETITIONS FOR REMISSION OR MITIGATIO
                                                                                     N, WHICH PARDONS ALL
         OR PART OF THE PROPERTY FROM THI: FORFEITURE.

         TO REQUEST A PARDON OF THE PROPI:IiIY YOU MUST FILE A PETITION FOF~ REMISSION
                                                                                                                     OR MITIGATION
         A. What to File: You may file both a clairn (see section II below) and a Petition foriRemission or Mitigation
                                                                                                                        (Petition). If you
            file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
         B. To File a Petition: A petit(on should be filed online or by malting it via the U.S. Postal Service or a Commercia
                                                                                                                               l Delivery
            Service to the Federal Bureau of Investigation (FBI), Attn: Forteiture Paralegal Specialist, 11000 Wilshire Bivd. Suite
                                                                                                                                    1700,
            FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this
                                                                                                                                      Notice.
            See 28 C.F.R. Parts 8 and 9.
         C. Requirements for Petition: The petition must include a description of your interest in the property supported by
            documentation and any facts you belie4~e justify the return of the property and be isigned under oath, subject to
                                                                                                                                the penalty
            of perjury or meet the requirements of an unsworn statement under penalty of pefJury. See 28 U.S.C. § 1748.

          D. Petition Forms: A petition need not ba made in any particular form but a standard petition form and the link to file
                                                                                                                                             the
              petition online are available at https://w~nny,f~rfeiture.taov/FilingPeti ion.htm. If you wish to file a petition online for the assets
              referenced in the asset list of this letter, plea:>e use the Notice Letter ID referene~d above.
          E. Supporting Evidence: Although not required, you may submit supporting evid@nce (for example, title papervvork or bank
             records showing your interest in the seixE:d propeRy) to sub~~tliiat~ yQlir~er____  tit                                --- ----
         F. No Attorney Required: You do not n~~ed an attorney to file a petition. You may, however, hire an attorney to represent you
             in flling a petition.
         G. Petition Granting Authority: The rulirn3 official in administrative forteiture casgs Is the Unit Chief, Legal Forfeiture Unit,
              Office of the General Counsel, The ruling official In judicial forfeiture cases Is the Chief, Money Laundering and Asset
              Recovery Section, Criminal Division, D~3K~artment of Justice. See 28 C.F.R. § 9.1.
         H• Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
              available at www.forteiture.aov.
         ~ • Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the
                                                                                                                                     petitioner to
             criminal prosecution under 18 U.S.C. § 1!)01 and 18 U.S.C. § 1621.
     Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 8 of 46 Page ID #:888




  Ms. Fiona Briquet
                                                                    Notice of Seizure

         J. Online Petition Exclusions: If you
                                                 G:innot find the desired assets online, you must
            address listed above. For more detail;:+                                              file your petition In writing at the
                                                     regarding what assets can be petitioned online,
            Q uestions at   htt~s;//www.forteiture.~ovrFillnq,PetitiQnFAQs.htm.                       please see the Frequently Asked

  II. TO CONTEST THE FORFEITURE OF
                                                   7H1:>
      If you do not file a claim, you wi~1 waive your r~~ PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A C1~11M.
                                                         rht ro contest the ~rfeirure of the asset. Addit/ona!!y,
      not be able to contest the forfeiture of this ass st in                                                     if no other claims are fried, you may
                                                               any other proceeding, criminal or civil.
         A.    To File s Claim:• A claim must be flle<:I to contes
               Postal Service or a Commercial Delivery             t the forfeiture. A claim should be filed online or
                                                          Service to the FBI, Attn: Fortelture Paralegal Special       by mailing it via the U.S.
               1700, FOB, Los Angeles, CA 90024.                                                                 ist, 110001Nflshire Blvd, Suite
     B. Time Limits: A claim must be filed within 35
                                                       days of the date of this letter; therefore, you must file
        EST on June 24, 2021. See 18 U.S,C:.§ 983(a)(2).                                                         your
                                                               A elaim is deemed filed on the date received by theclaim  by 11:59 PM
                                                                                                                      agency at the
        address listed above.
     C. Requirements for CIaIm: A claim m~ st be filed
                                                          online or
        other interest in the property and be m~~ade under oath, in writing, describe the seized property, state your ownership or
                                                                 subjec
        statement under penalty of perjury. So-~e 78 U.S.C. § 983(a) t to penalty of perjury or meet the requirements of an unsworn
                                                                     (2)(C) and 28 U.S.C. § 1746.
     D.       Claim Forms: A claim need not be m;:►de in any particu
                                                                              lar form, but a standard claim form and the link to file the
              are available at ~s~/1www.forfeiturs.a,w/Fitin~C im.htm                                                                      claim
                                                                               . See 18 U.S.C. § 983(a)(2)(D). If you wish to file a claim online
              for the assets referenced in, the asset list of this letter, please                                                              online
                                                                                    use the Notice Letter ID referenced above.

     E.       Supporting Evidence: Although not required, you may
                                                                  submit suppo            rting evidence (for example, title papervvork or bank
              records showing your interest in the seized property) to
                                                                          substantiate your claim.
     F,       No Attorney Required: You do not n~ red an attorney to file a
                                                                                clairr~. You may, however, hire an attorney to represent you in
              filing a claim.
     G.       When You Flle a Claim: A timely clan n s4ops the administrative
              timely claim to the U.S. Attorney's Offic~3 for further procee       forfeiture proceeding. The seizing agency forwards the
                                                                            dings. You may also file a petition for remission or mitigation.
     H.       penalties for Filing False or Frivolous Claims: If you intentio
                                                                                 nally file a frivolous claim you may be subject to a civil fine.
              See 18 U.S.C. § 983(h). If you Intentionally file a claim containing
                                                                                   false information, you may be subject to criminal
              prosecution. See 18 U.S.C. § 1001.
    I.        If No Claim is Filed: Failure to file a claim by 11:59 PM EST
                                                                            on June 24, 2021 may result in the property being forfeited to
              the United States.
    J.        Online Claim Exclusions: If you carniot find the desired assets online,
              address listed above. For more detailf regarding
                                                                                      you must file your claim in writing and send to the
                                                                 what assets can be claimed online, please see the Frequently Asked
              Questions et ittvs://www,forfeiter.~ovh=lLr~,~ClaimFA,~s.htm.

III. TO REQUEST RELEASE OF PROPERTY BJISL~D ON HARDSHIP
    A. Hardship Release: Upon the filing of a proper claim, a claima
                                                                         nt may request release of the seized property during the
       pendency of the forfeiture proceeding du~3 to hardship if the claimant is able
                                                                                      to meet specific conditions. See 18 U.S.C. §
       9830; 28 C.F.R. § 8,15.
    B. To File Hardship Release: The hardship.request cannot be filed
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          •Claimant has a possessory interest fig the property;
          •Claimant has sufficient ties to the community to assure that the property will be availab
              and                                                                                    le at the time of trial;
         • GovemmenYs continued possession will cause a substantial hardship to
                __ — ---_          __      __.                                    the claimant.__.
   ~. i~egu atlons  for Hardship: A complete Ifst of the hardship provisions can be review
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          8.15. Some assets are not eligible for tales:~e.
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                                                                                           Washington, DC 20535


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     Mr.
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                    NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                       ADIIIf~ISTRAI'INE FORFEITURE PROCEEDINGS
                                 SEIZED PRGP~RTY IDENTIFYING INFORMATION
                Notice Date: May 20, 2021                         Asset ID Number: 21-FBI-OU3136
                Notice Letter ID: 264262(use ID when searching for assets during online filing)
                Description of Seized Property: $175,900.00 U.S. Currency from Box #4901
               Seizure Date and Location: The assets) referenced in this notice letter were seized on March 22, 2021 by
               the FBI at U.S. Private Vaults in Beuerly Hills, California.
                Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C) and
                the following additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.


     I THE GOVERNMENT MAY CONSIDER GRANTING PETI710NS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
     .
       OR PART OF THE PROPERTY FROM 7FdE FORFEITURE.

         TO REGIUEST A PARDON OF THE PROF'ER.TY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

         A. What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
             file only a petition and no one else filer a claim, your petition will be decided by the seizing agency.
         B. To File a Petition: A petition should be filed online or by mailing it vfa the U.S. Postal Service or a Commercial Delivery
             Service to the Federal Bureau of Inve:~tigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
             FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this Notice.
             See 28 C.F.R. Parts 8 and 9.
         C. Requirement for Petition: The petition must include a description of your interest in the property supported by
             documentation and any facts you belle~ve justify the return of the property and be signed under oath, subject to the penalty
           ~~of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

         D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file the
           _petition, online are available_ at h :l avww.forfeiture.~ov/FilingPetition.htm. If you wish to file. a petition online for the assets
            referenced in the asset list of this letter, please use the Notice Letter ID referenced above.
         E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or bank
            records showing your interest in the s~;ized property) to substantiate your petition.
         F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
            in filing a petition.
`
.`       G. Petition Granting Authority: The n~ling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
             Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
             Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
  Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 11 of 46 Page ID #:891




 Mr. Ziv Cohen                                                   Notice of Seizure

      H• Regulations for Petition: The Regulations governing the petition process
                                                                                      are set forth in 28 C.F.R. Part 9, and are
         available at yvww,forFeiture.gov.
      ~• Penalties for Filing False or Frivolous Petitions: A
                                                                petition containing false information may subject the petitioner to
         criminal prosecution under 18 U.S.C.§ 1001 and 18 U.S.C.
                                                                     § 1621.
      J. Online Petition Exclusions: If you cannot find the desired
                                                                      assets online, you must file your petition In writing at the
         address listed above. For more details regarding what assets can
                                                                             be petitioned online, please see the Frequently Asked
         Questions at ih s://www.forfeiture:~ov.'Fili Petitio~FAQs.htm.

 II. TO CONTEST THE FORFEITURE OF THI;> PROPERTY IN UNITED
    !                                                                              STATES DISTRICT COURT YOU MUST FILE A CLAIM.
     f you do noE 61e a c/aim, you will wave your right to contest the forteiture of
                                                                                     the asset. Additionally, if no other claims are filed, you may
     not be a6/e to contest fhe forfeiture of this as:;et!n any other proceeding
                                                                                 , criminal or civil.
     A.  To File a Claim: A claim must be file~j to contest the forfeiture. A
                                                                                   claim should be filed online or by mailing it via the U.S.
         Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture
                                                                                             Paralegal Specialist, 11000 Wilshire Blvd. Suite
         1700, FOB, Los Angeles, CA 90Q24.
     B. Time Limits: A claim must be filed within 35 days of the date
                                                                             of this letter; therefore, you must file your claim by 11:59 PM
         EST on June 24, 2021. See 18 U.S.C. § 983(a)(2). A claim is deemed
                                                                                          filed on the date received by the agency at the
        address listed above.
     C. Requirements for Claim: A claim must be filed online or in writing, describe
                                                                                                the seized property, state your ownership or
        other interest in the property and be mach under oath, subject to penalty of perjury
                                                                                                      or meet the requirements of an unsworn
        statement under penalty of perjury. S~9e '18 U.S.C. § 983(a)(2)(C) and 28 U.S.C.
                                                                                                   § 1746.
     D, Claim Forms: A claim need not be made in any particular form, but a standard
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        are available at htt~s://www.forFeiture.aov/FilingClaim.htm. See 18 U.S.C.§ 983(a)(2)(
                                                                                                          D). If you wish to file a claim online
        for the assets referenced in the asset list c>f this letter, please use the Notice Letter
                                                                                                     ID referenced above.

    E.    Supporting Evidence: Although not required, you may submit supporting evidence (for
                                                                                                      example, title papenrvork or bank
          records showing your interest in the seized property) to substantiate your claim.
    F.    No Attorney Required: You do not need an attorney to file a claim. You may, however, hire an
                                                                                                                attorney to represent you in
          filing a claim.
    G.    When You File a Claim: A timely clam ;.tops the administrative forfeiture proceeding. The
                                                                                                           seizing agency forwards the
          timely claim to the U.S. Attorney's Office fur further proceedings. You may also file a petition for
                                                                                                               remission or mitigation.
    N.    Penalties for Filing False or Frivolo~is Claims: If you intentionally file a frivolous claim
                                                                                                       you may be subject to a civil fine.
          See 18 U.S.C.§ 983(h). If you intentionally file a claim containing false information, you may be
                                                                                                             subject to criminal
          prosecution. See 18 U.S.C.§ 1001.
    I.    If No Claim is Filed: Failure to file a claim by 11:59 PM EST on June 24, 2021 may result in the
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          the United States.
   .1•    OnUne Claim Exclusions: If you carmol:find the desired assets online, you must flte your claim in writing and
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          address listed above. For more details regarding what assets can be claimed online, please see the Frequently
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III. TO REQUEST RELEASE OF PROPERTY E3ASED ON HARDSHIP
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    B. To File Hardship Release: The hardship request cannot be filed online and must be in writing.
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        _      __ the following:                      -__                                                    --------
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              and
          •Governments continued possession will cause a substantial hardship to the claimant.
    C. Regulations for Hardship: A completes list of the hardship provisions can be reviewed at 18 U.S.C. 9830
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       8.15. Some assets are not eligible for release.




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                             NOTICE OF SEIZUIR~ OF PROPERTY AND INITIATION OF
                                ADI~IINISTRAI'11~E FORFEITURE PROCEEDINGS
                                   SEIZED PROPERTY IDENTIFYING INFORMATION
                   Notice Date: May 20, 2021                      Asset ID Number: 21-FBI-003250

                   Notice Letter ID: 2638fi1 (use ID when searching for assets during online filing).
                   Description of Seized Property: °i52,100.00 U.S. Currency from Box #7720

                    Seizure Date and Location: The Fiss~;t(s) referenced in this notice letter were seized on March 22, 2021 by
                   'the FBI at U.S. Private Vaults In Beverly Hills, California.
                   Fortetture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C) and
                   the following additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.


  I.     THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
         OR PART OF THE PROPERTY FROM THI° FORFEITURE.

         TO REQUEST A PARDON OF THE PROPiERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

         A. What to Ffle: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
            file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
         B. To File a Petition: A petition should tie filed oNine or by mailing it via the U.S. Postal Service or a Commercial Delivery
            Service to the Federal Bureau of Investigation (FBI), Attn: Forteiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
            FOB, Los Angeles, CA 90024. It must be received no later than 11.59 PM EST thirty (30) days of your receipt of this Notice.
            See 28 C.F.R. Parts 8 and 9.
         C. Requirements for Petition: The petition must include a description of your interest in the property supported by
            documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
            of perjury or meet the requirements of .an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

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         F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
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         G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
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     Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 13 of 46 Page ID #:893

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 Robert Fiore
                                                                      Notice of Seizure

         ~~ Penalties for Filing Fafse or Frivolous Pe~itfo
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                                                      THtS I~Rt7PERTY (N UNITEp STATES DISTRICT
  ~ti If you do not frle a c/airrr, you wi11 vraive your                                                         COURT YOU iNUST FILE A CLAIM.
                                                         right to contest the forfeitur+s of the asset. Addition
      not be able to contest the farferture of this asses!                                                       a!!y, if no other claims are filed, you may
                                                             in any ofher proceeding, criminal or civil.

    "A.       To. File a Claim: A deim must be filed':o contest the
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III. 70 REQUEST RELEASE QF PROPERTY 6,~~5ED ON HARCISHIP
   A. Flardshlp Release: Upon the fling of a F~roper claim, a claimant may request release
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      pendency of the forfeiture proceeding due to hardship it the claimant is able to meet specific
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         •Claimant has a possessory interest in the property;
         •Claimant has su~cient ties fo the corr~munity to assure that the property will be availabl at
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      Regulations far Hardship: A complete':ist of the hardship provisions can be reviewed at 18 U.S.G.
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      Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 14 of 46 Page ID #:894
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                                                                                           Federal Bureau of Investigation


                                                                                            Washington, DC 20535

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 Mr.~Amit G~~a:,.~~-
 c10 Jacek W. Lentz




                           NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                              AD INISTRAI~IVE FORFEITURE PROCEEDINGS
                                   SEIZED PRdPrRTY IDENTIFYING INFORMATION
                    Notice Date: May 21, 2021          ~~AssetID Number: Multiple Assets
                    Notice Letter ID: 264815(use ID ~Nhen searching for assets during online filing)
                    Description of Seized Property: See Attached List
                    Seizure Date and Location: See Attached List
                    Forteiture Authority: See Attached List

 I.     THE GOVERNMENT MAY CONSIDER GR:AMTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
        OR PART OF THE PROPERTY FROM THE FORFEITURE.

        TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

         A. What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
            file only a petition and no one else flle~; a claim, your petition will be decided by the seizing agency.
         B. To Flle a Petition: A petition should be tiled online or by mailing it via the U.S. Postal Service or a Commercial Delivery
            Service to the Federal Bureau of Inves•tigatfon (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
            FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this Notice.
            See 28 C.F.R. Parts 8 and 9.
         C. Requirements for Petition: The petition must include a description of your interest in the properly supported by
            documentation and any facts you believe justify the return of the properly and be signed under oath, subject to the penalty
            of perjury or meet the requirements of an~unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

         D. Petition Fortes: A petition need not be made in any particular form but a standard petition form and the link to file the
             petition online are available at httos://vn~v.forfeiture.gov/Filinq;Pgtition,htm. If you wish to file a petition online for the assets
             referenced in the asset list of this letter, please use the Notice Letter ID referenced above.
         E. Supporting Evidence: Although not required, you may submit supporting evidence              (for example, title paperwork or bank
           ___~~rd~-~naw;rsg                                 propertgjto substantiate yew pet}tieR._                          _ _ _--_
         F. No Attorney Required: You do not heed an attorney to file a petition. You may, however, hire an               attorney to represent you
             in filing a petition.
         G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
              Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
              Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
         H• Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
            available at www.forfeiture.t~ov.
         ~• Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the petitioner to
            criminal prosecution under 18 U.S.C. § 1001 and i8 U.S.C.§ 1621.
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Mr. Amit Goldgeiger                                              Notice of Seizure

    J. Online Petition Exclusions: If you c~+nnot find the desired assets online, you must file your petition in writing at the
       address listed above. For more details regarding what assets can be petitioned online, please see the Frequently Asked
         Questions at https://www.forfeiture.go~dFilingPetitionFAQs.htm.

II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
   !f you do not file a claim, you wll! waive your ri~rhf to contest the forfeiture of the asset. Additionally, if no other claims are filed, you may
    not be able to contest the forfeiture of this asset in any other proceeding, cnmina! or civil.

    A.    To File a Claim: A claim must be filed to contest the forteiture. A claim should be filed online or by mailing it via the U.S.
          Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
          1700, FOB, Los Angeles, CA 90024.
    B.    Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by 71:59 PM
          EST on June 25, 2Q29. See 18 U.S.(;. § 983(a)(2). A claim is deemed filed nn the date received by the agency at the
          address listed above.
    C.    Requirements for Claim: A claim mast be filed online or in writing, describe the seized property, state your ownership or
          other interest in the property and be madrz under oath, subject to penalty of perjury or meet the requirements of an unsworn
          statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C. § 1746.
    D.    Claim Forms: A claim need not be rtiade in any particular form, but a standard claim form and the link to file the claim online
          are available at httgs:l/www.forteiture.~~/Filin~Claim.htm. See 18 U.S.C. § 983(a)(2)(D). If you wish to file a claim online
          for the assets referenced in the asset list of this letter, please use the Notice Letter ID referenced above.

    E.    Supporting Evidence: Although not: required, you may submit supporting evidence (for example, title paperwork or bank
          records showing your interest in the s-sized property) to substantiate your Gaim.
    F.    No Attorney Required: You do not need an attorney to file a claim. You may, however, hire an attorney to represent you in
          filing a claim.
    G.    When You File a Claim: A timely clsiim stops the administrative forfeiture proceeding. The seizing agency forvvards the
          timely claim to the U.S. Attorney's Offsce for further proceedings. You may also file a petition for remission or mitigation.

    H.    Penalties for Filing False or Frivolous Claims: If you intentionally file a frivolous claim you may be subject to a civil fine.
          See 18 U.S.C.§ 983(h). If you inten~~ionally file a claim containing false Information, you may be subJect to criminal
          prosecution. See 18 U.S.C.§ 1001.
    I.    If No Claim is Filed: Failure to file ~~ cl~~im by 11:59 PM EST on June 25, 2021 may result in the property being forfeited to
          the United States.
    J.    Online Claim Exclusions: If you c~innot find the desired assets online, you must file your claim in writing and send to the
          address listed above. For more details regarding what assets can be claimed online, please see the Frequently Asked
          Questions at htT s:Nwww. orteiture. uv/ in'
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III. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
    A. Hardship Release: Upon the filing oi` a proper claim, a claimant may request release of the seized property during the
       pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.0
       9830;28 C.F.R. § 8.15.
    B. To File Hardship Release: The harclship request cannot be filed online and must be in writing. The claimant must
       establish the following:
         •Claimant has a possessory intere;~t in the property;
         •Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
             and
         •Governments continued possession will cause a substantial hardship to the claimant.
  - e.                         ~ .- ~comptete List of the nardsnip provisions can t~revriewe~ at~s tf.s.E.§ 9ss(fiJarTd 2s e.~.R. ~
       8.15. Some assets are not eligible for release.




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Mr. Amit Goldgeiger                                       Notice of Seizure

Asset List

Seiaure Date and Location: The assets) referenced in this notice letter were seized on March 22, 2021 by the FBI at U.S.
Private Vaults in Beverly Hills, California.

Forteiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C} and the following
additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.

    AS$E7 ID          ASSET DESCRIPTION                                              ASSET VALUE            ACCTNINISERIAL NO
21-FBI-003059         $75,600.00 U.S. Currency from Box #809                            $75,600.00
21-FBI-003434         Miscellaneous Coins from Box 809                                       $1.00
                                 30 Coin, Silver Metal Color                                 $1.00




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        Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 17 of 46 Page ID #:897
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                                                                                       U.S. Dep, ment of Justice

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 `uls. Mar ~I n Esther Murillo,-,'vl~:.:i.d~~~v=~-~°~




                   NOTICE OF SEIZUiFt~ OF PROPERTY AND INITIATION OF
                      AD INISTRAI'110E FORFEITURE PROCEEDINGS
                                SEIZED PROf~ERTY IDENTIFYING INFORMATION
              Notice Date: May 21, 2021                           Asset ID Number: 21-FBI-003172
              Notice Letter ID; 264473 (use ID vvhen searching for assets during online filing)
              Description of Seized Property: :3153,100.00 U.S. Currency from Box #3201

              Seizure Date and Location: The u~ssot(s) referenced in this notice letter were seized on March 22, 2021 by
              the FBI at U.S. Private Vaults in Beverly Hills, California.
              Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C) and
              the following additional federal laws: '19 U.S.C. §§ 16Q2-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9,


 1,   THE GOVERNMENT MAY CONSIDER GRp~NTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
      OR PART OF THE PROPERTY FROM THE FpRFEiTURE.

      TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMIS3(ON OR MITIGATION

      A. What to Flle: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
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      B. To Flle a Petition: A petition should ~r~ fil~ad online or by mailing it via the U.S. Postal Service or a Commercial Delivery
         Service to the Federal Bureau of Investigation (FBI), Attn: Forteiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
         FOB, Los Angeles, CA 90024. It must be receiv4d no latsf than 11:59 PM EST thirty (30) days of your receipt of this Notice.
         See 28 C.F.R. Parts 8 and 9.
      C. Requirements for Petition: The petition must include a description of your interest in the property supported by
         documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
         of perjury or meet the requirements of an unsworn statement under penalty of perjury. Sea 28 U.S.C. § 1746.

      D. Petition Forms: A petition need not bra made in any particular form but a standard petition form and the link to file the
          petition online are available at https;l/~~~.forfeiture:~ovlFllingPetiUon.htm, If you wish to file a petition online for the assets
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__    E,___S_u~ortl_ng_Evldence: Althouc,~h not r~3quired, you may submit supporting evidence (for example, title paperwork or bank
          records showing your interest In the s~slzed property) to substantiate your pets ion.
      F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
          in filing a petition.
                                                                                                                    Legal Forfeiture Unit,
      G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief,
                                                                                                                                 Asset
           Office of the General Counsel. The •uling ofFcial in Judicial forfeiture cases is the Chief, Money Laundering and
           Recovery Section, Criminal Division, D~3partment     of Justice.  See  28 C.Q.R. § 9.1,
                                                                                                                             and are
      H• Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9,
           available at www.forfeiture.aov.
   Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 19 of 46 Page ID #:899
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                                                   .




Ms. Marytyn Esther Murillo-Mendez                               Notice of Seizure


    ~• Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the petitioner to
       criminal prosecution under 18 U.S.C. § 1001 and 18 U,S.C. § 1621,
    J. Online Petition Exclusions: If you ca~mot find the desired assets online, you must file your petition in writing st the
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II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
                                                                                                                                            you mey
    If you do not file a claim, you will waive your right to contest the forfeiture oithe asset. Additiona!!y, if no other claims are fled,
    not be able to contest the forfeiture of  this assn ~f in any other proceeding, criminal or civil.

    A. To File a Claim: A claim must be filet to contest the forteiture. A claim should be filed online or by mailing it via the U.S.
       Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Bivd. Suite
       1700, FOB, Los Angeles, CA 90024.
                                                                                                                    your claim by 11:59 PM
    B. Time Limits: A claim must be filed wi~.hin 35 days of the date of this letter; therefore, you must file
       EST on June    25, 2021.   See   18 U.S.0 . § 983.(x)(2)... A claim is deem~~i fled_on  the  date received   by the agency at the
       address listed above.
                                                                                                        property, state your ownership or
    C. Requirements for Claim: A claim m~ st be filed online or in writing, describe the seized
                                                      under   oath,  subject to penalty of perjury or meet  the requirements of an unsworn
       other interest in the property and be made
       statement  under   penalty of perjwry. S~~e  18  U.S.C.  §  983(a)(2)(C ) and 28 U.S.C.  § 1748.
    D. Claim Forms: A claim need not be m ade in any particular form, but e standard claim form            and the link to file the claim online
       are available at https;/Iwww.forfeiture.c  ~v/FilinaCla  im.htm.  See't8   U.S.C. § 983(a)(2)(D },   If you wish to file a claim online
       for the assets referenced in the asset I st of this letter, please use the Notice Letter ID referenced above.

                                                                                                                     title paperwork or bank
     E.    Supporting Evidence: Although not required, you may submit supporting evidence (for example,
           records showing   your interest in the seized property) to substantiate your claim.
                                                                                               however, hire an attorney to represent you in
     F.    No Attorney Required: You do not i geed an attorney to file a claim. You may,
           filing a claim.
                                                                                                               seizing agency forwards the
     G.    When You Ffle a Claim: A timely cl~~im stops the administrative forfeiture proceeding. The
                                                                              .      may  also file a petition for remission or mitigation.
           timely claim to the U,S, Attorney's Office for further proceedings You
                                                                                                                                to a civil fine.
     H.    Penalties for Filing False or Frlvolo us Claims: {f you intentionally file a frivolous claim you may be subject
                                                                                                   , you may be subject to criminal
           See 18 U.S.C. § 983(h). If you inten~:ionally file a claim containing false information
           prosecution. See 18 U.S.C.§ 1001,                                                                             ,
                                                             11:59 PM  EST  on June   25, 2021  may   result in the property being forfeited to
     I.    If No Claim fs Filed: Failure to file ~~ claim by
           the United States.
                                                                                                  file your claim in writing and send to the
     J.    Online Claim Exclusions: If you ce~nnot find the desired assets online, you must
                                                                                              online, please see the Frequently Asked
           address listed above. For more dets~ils regarding what assets can be claimed
           Q uestions at htt~s:/lwww,forfeiture.~<~v/FilinaCl  aimFAQs.htm.

 III. TO REQUEST RELEASE OF PROPERTY'B{4SED ON HARDSHIP
                                                                                                           of the seized property during the
      A. Hardship Release: Upon the filing of a proper claim, a claimant may request release                     conditions. See 18 U.S.C. §
                                                   Niue to hardship if the claimant    is able to meet  specific
         pendency of the forfeiture proceeding
         983(fl; 28 C,F.R. § 8.15.
                                                                                            and must be in writing. The claimant must
      B. To Flle Hardship Release: The hardship request cannot be filed online
         establish the following:
            •Claimant has a possessory intere:ct in the property;
                                                                                                will be available at the time of trial;
         __ •C_Iaimant has sufficient ties to__the community _to assure  _ that the___property                         _ ---
                 and
            •Government's continued possession will cause a substantial hardship to the claimant.
                                                                                                             at 18 U.S.C. § 9830 and 28 C.F.R. §
      C. Regulations for Hardship: A comp ~ste list of the hardship provisions can be reviewed
         8.15. Some assets are not eligible fur release.
      Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 20 of 46 Page ID #:900
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                                                                                            U.S. Department of Justice

                                                                                           Federal Bureau ofInvestigation


                                                                                            Washington, DC 205.?S
       ~~""~                   ~~
     Mr. M~~rk Rudak




                    NOTICE OF SEIZU~L OF PROPERTY AND
                                                            INITIATION OF
                       A DMINISTRAI"11/E FORFEITURE PROCEEDI
                                                                 NGS
                          SEIZED PRO~~~RTY IDENTIFYING INFORMATION
               Notice Date: May 21, 2021
                                                           .Asset ID Number: Multiple Assets
               Notice Letter ID: 264810(use ID ~~hen searching
                                                                for assets during online filing)
               Description of Seized Prope►ty: ~~~=e Attached List
               Seizure Date and Location: See Attached List
               Fortelture Authority: See Attached List

I.     THE GOVERNMENT MAY CONSIDER GR~N7'ING PETITIONS
                                                       FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
       OR PART OF THE PROPERTY FROM THE FORFEITURE.

       TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITIO
                                                                  N FOR REMISSION OR MITIGATION
      A. VNhat to File: You may file both a claim (see section II below) and a Petition
         file only a petition and no one else files ¢i clF~im, your petition will be           for Remission or Mitigation (Petition). If you
                                                                                     decided by the seizing agency.
      B. to File a Petitlon: A petition should be filod online or by mailing it via the
                                                                                           U.S. Postal Service or a Commercial Delivery
         Service to the Federal Bureau of Investic~;3tion (FBI), Attn: Forteiture Paraleg
                                                                                             al Specialist, 11~0 Wilshire Blvd. Suite 1700,
         FOB, Los Angeles, CA 90024. It must b~e~ received no later than 11:59 PM
                                                                                           EST thirty (30) days of your receipt of this Notice.
         See 28 C.F.R. Parts 8 and 9.
      C. Requirements for Petition: The petition must include a description of your interest
                                                                                                in the property supported by
         documentation and any facts you believe~.justify the return of the property and be signed
                                                                                                     under oath, subject to the penalty
         of perjury or meet the requirements of an unsworn statement under penalty of perjury.
                                                                                                   See 28 U.S.C. § 1746.
      D. Petition Forms: A petition need not be rnade in any particular form but a standard petition form
                                                                                                                  and the link to file the
         petition online are available at hops://w~nrn~.forfeiture,~,ovlFlllnc~Petitlon.htm. If you wish to file petition
                                                                                                                a         online for the assets
         referenced in the asset list of this letter, pl~sase use the Notice Letter ID referenced above.
      E. Supporting Evidence: Although not re~auired, you may submit supporting evidence (for
                                                                                                           example, title paperwork or bank
         records showing your interest in the seizE:~i properly) to substantiate your petition.
      F. N~ Attorney Required: You do not need an attorney to file a petition. You
                       ..                                                                     may, however, hire an attorney t4~pr~s~nt you
      G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal
                                                                                                                       Forfeitur
          Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and e Un(t,
          Recovery Section, Criminal Division, DeF~~irtment of Justice. See 28 C.F.R. § 9.1.                                  Asset
      H• Regulations for Petition: The Regulat~c~ns governing the petition process are set forth in 28 C.F.R. Part 9,
                                                                                                                         and are
          available at www.forfeiture.pov.
      ~ • Penalties for Fllin9 False or Frivolous Petitions: A petition containing false information may subject the petitione
                                                                                                                                 r to
          criminal prosecution under 18 U.S.C. § 1~~~1 and 18 U.S.C. § 1621,
      Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 21 of 46 Page ID #:901
                                                     ,~




     Mr. Mark Rudak
                                                                       Notice of Seizure
        J. Online Petition
                                Exclusions: If you
             address listed abov8.                       cannot find the desired
                                                                                   assets online, you must fif
             Questions at httos:// For more deta11:3 regarding what assets can be                              e your
                                     www,forfeiture aov',FJJi
                                                              ,r~aPetittonFA~tS htm,         petitioned online, pleasepetition in writing at the
                                                                                                                          see the Frequently Ask
                                                                                                                                                   ed
   II. TO CONTEST THE
                              FOR
       If you do not Nle a claim,  FEI  TUR  E OF THt:~ P~t
                                  you will wave your rir►ht OPERTY IN UNITED STATES DISTRICT COUR
                               the forfeiture of this ass+ to Contest the forfeiture of the asset. Additionally T YOU MUST FILE A CLAIM.
       not be aD(e to contest
                                                          ~t !n any other proceeding                             , if no other c/afms are
                                                                                     , criminal or civil.                                 filed, you may
       A.    To Flle a Claim: A clai
                                     m must be filed to contest
            Postal Service or a Com                              the forfeiture. A claim
                                     mercial DeliveEy Service                              should be filed online or
            1700, FOB, Los Angeles,                            to the F61, Attn: Forteiture                           by mailing it via the U.S
                                      CA 90024.                                               Paralegal Specialist, 110                         .
       B.   Time Limits: A claim                                                                                        00 Wilshire Blvd, Suite
                                  must be filed wi~:.~in 35
            EST on June 25, 2021.                           days of the date of this lette
                                      See 18 U.S.0 § 983(a)(                               r; therefore, you must
            address listed above.                              2). A claim is deemed                              file your claim by 11:59
                                                                                          filed on the date receive                          PM
      C.                                                                                                            d by the agency at the
            Requirements for     Claim: A
            other interest in the property claim mutt b~3 filed online or in writing, describe the
                                           and be m8ide under oath,                                seiz
            statement under penalty of                                subject to penalty of perjury ored property, state your ownership or
                                         perjury. Sera 1Ff U,S.C. §                                     me
      D.    Claim Forms: A claim nee                                983 (a)(2}(C) and 28 U.S.C. § 174 et the requirements of an unsworn
                                          d not be mFn~e                                                6.
            are available at hhtt~~//ww                    fn any particular form, but a
                                        w.fa                                             standard claim form and the
            for the assets referenced in rtelture.pgv/~ilin~Claim.htm. See 18 U.S. C, § 983(a)(2)(D                     link to file the claim online
                                         the asset li:;t of this letter,                                     }. If you wish to file a
                                                                         please use the Notice Letter                                  claim online
                                                                                                      ID referenced above.
     E.   Supporting Evidence: Althoug
          records showing your interes in h not required, you may submit supporting evidence (for
                                          t the sei;ted property) to sub                                      example, title paperwork or ban
     F. No Attorney Required:                                               stantiate your claim.                                                k
                                      You do not neE►d an attorne
         filing a claim.                                            y to file a claim. You may, how
                                                                                                         ever, hire an attorney to rep
     G. When You File a Claim:                                                                                                          resent you in
                                      A timely claim stops the adminis
         timely claim to the U.S. Attorney's                               trative forf
                                              Offices for further proceedings. Youeiture proceeding. The seizing agency forwards the
                                                                                         may also fife a petition for remission
                                                                                                                                 or mitigation.
    H. Penalties for Filing Fal
                                   se or Frivolous, Claims: {f you inte
         See 18 U.S.C. § 983(h). If you intentio                             ntionally file a frivolous c{aim you
                                                                                                                   may be subject to a civil fine.
        prosecution. See 18 U.S.C. § 1001. nally file a claim containing false information, you may 6e subject
                                                                                                                              to criminal
    I.  {f No Claim is Filed: Fai4ure to file
                                                a cl•3im by 11:58 PM EST on Jun
        the United States.                                                              e 25, 2021 may result in the proper
                                                                                                                             ty being forfeited to
    J. Online Claim Exclusion
                                    s: !f you cannot find the des+red ass
        address listed above. For more det                                    ets online, you
                                               ails nsgarding what assets can be clai must file your claim in writing and send to the
        Questions 8t htt~s:llwwv,~~forfeiturQ.aov                                           med online, please see the Freque
                                                  /F il~rl„q~aimFAQs.ht    m.                                                     ntly Asked
III. TO RkG1UEST RELEASE OF
                            PROP   ERTY BA~:iED ON HARDSHIP
   A. Hardship Release: Upon the
                                 filing of a F~roper claim, a clai
      p~andency of the forfeitu                                    mant may request release of the
                                re proceeding due t~~ h~~rdship ii the                                     seiz
      9fl3(fl; 28 C.F.R, § 8,15.                                       claimant is able to meet specif+c con ed property during the
                                                                                                              ditions. See 18 U.S,C. §
   B. Tc~ File Hardship Release: The
                                          hardshiF~ request cannot be filed onli
      establish the following:                                                    ne and must be in writing. The claima
                                                                                                                             nt must
         •Claimant has a possessory interes
                                               t in tl~e property;
         •Claimant has sufficient ties to the com
                                                   rr~unity to assure that the property will
              and                                                                            be available at the time of trial;
         •Governments continued possession
               ---- __ -- _—____                 will cause a ss►bstantta4 hardshlp4e #he                         __       __
  ~: f~egulation                                                                           ~laimant —--
                 s for Hardship: A complete iis.~ of
     8.'I5. Some assets are not elig                    the har dsh ip provisions can be reviewed at 18
                                     ible for release.                                                  U.S.C. § 9830 and 28 C.F.R. §
  Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 22 of 46 Page ID #:902
                                             ,,.


 ~~Ir. Mark Rudak
                                                           Notice of Seizure
 Asset List
seizure Date and Locati
Private Vaults in Beverl on: The assets) ref~~re~~ced in this notice let
                        y Hills, Ca{ifarnia.                             ter were seized on March
                                                                                                  22, 2021   by the FBI at U.S.
 Forfsltars Authority: Th
                           e
additional federal laws: 19 forfeiture of this property has been initiated pur
                           U.S,C. §§ 1602-161 +, 18                            sua
                                                        U.S.C. § 983 and 28 C.F.R.nt to 18 USC 981(a)(1)(C) and the foitvwing
                                                                                   Parts 8 and 9.
     ASSET Ib         AS5~T DESCRIPTRON
21-F81-(303141        $340,000.40 U.S. Currency                                          ASSET VALUE
                                                     fram Box #5409                                           ACCi'NINISERtAL NC►
21-F61~003385         Miscellaneous Precious Ite
                                                   ms from Box 5 09                         $3 40 ,00 0.4 D
                                 5&      Coin, l'e:flaw Metal Color                                 $4.00
                                 19     Ingot, 54~ Yeltow Meta! Color                               $1 A4
                                  6     Ingot, 2„ig Yellow Metat Color                              ~1.4a
                                14      ingot, 1ci YeNow Metal Color                                $1.00
                                                                                                   $1.40
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 23 of 46 Page ID #:903
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                                                                            U.S. Department of Jus
                                                                                                           tice

                                                                           ~ederaJ Bureau ofInvestigatio
                                                                                                            n

                                                                           Washington, DC 20535


     FBI Case Number: 272E-
                            LA    -3123•a 72
    The items of property notate
                                 d in thy: attached letter hav
    $1.00 has been used in the                                 e not yet been appraised. A
                               Letter. Another letter will                                 place holder value of
    those items has been com                                be sent with updated values
                             pleted.                                                     when the appraisal of
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 24 of 46 Page ID #:904



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                 ~. .                                                                    U.S. Department of Justice
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;               :.:T ~
   ~
   ~ :~,       ~F
                                                                                         Federal Bureau of Investigation
    ~      ~


                                                                                         Washington, DC 20535


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                       NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                          ADMINISTRATIVE FORFEITURE PROCEEDINGS
                                SEIZED PROPERTY IDENTIFYING INFORMATION
                Notice Date: May 21, 2021                      Asset ID Number: Multiple Assets
                Notice Letter ID: 284458 {use ID when searching for assets during online filing)
                Description of Seized Properly: SeeAttached List

                Seizure Date and location: See Attached List
                Forfeiture Authority: See Attached List

 I. THE(30VERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMI3510N OR MITIGATION, WHICH PARDONS ALL
    OR PART OF THE PROPERTY FROM THE FORFEITURE.

      TO REQUEST A PARDON OF THE PRQPERTY YOU MUST FILE A PETITION FOR REMIS310N OR MITIGATION

      A. What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition), If you ale
         only a petition end no one else files e claim, your petition will be decided by the seizing agency.
      B. To File a Petition: A petition should be flied online or by mailing it via the U.S. Postal Service or a Commercial Delivery
         Service to the Federal Bureau of Investlgation (F81), Attn: Forteiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
         FOB,los Angeles, CA 90024. It must be received no later than 11:59 PM EST th(rty (30) days of your receipt of this Notice.
         See 28 C.F.R. Parts 8 end 8.
      C. Requirements for Petition: The petition must include a description of your interest in the property supported by
         documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
         of perjury or meet the requirements of an unswom statement under penalty of perjury. See 28 U.S.C.§ 1748.

      D. Psdtlon Forms: A petition need not be made in arty particular form but a standard petition form and the link to file the
         petition online are available at htt~s:/lwww.forfeiture,aovlFilinr~Petidon.htm. If you wish to file a petition online for the assets
         referenced In the asset list of this letter, please use the Notice Letter ID referenced above.
      E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title papervvork or bank
         records showing your interest in the seized property) to substantiate your petition.
      F. No Attorney Required: You do not need an attorney to file a petltlon. You may, however, hire an attorney to represent you
         in filing e petition.
      G. Petltlon Granting Authority: The ruling official in administrative forteiture cases is the Unit Chief, Legal Forfeiture Unit,
          Once of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
           ecovery~ection;~rimine `~Ti vision;-~epar—finen~ oFJus~ice~~ weeZS C:F.R.§ 9.1.
      H• Regulations for Petition: The Regulations govern(ng the petition process are set forth in 28 C.F.R. Part 9, and are available
         at www.fq~rfeiture;~Qv,
      ~• Penaftles for Filing False or Frivolous Petitions: A petition containing false information may subJect the peNdoner to
         criminal prosecution under 18 U.S.C.§ 1001 and 18 U.S.C. § 1621.
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 25 of 46 Page ID #:905




 Hasib Siddique                                                 Notice of Se¢ure

     J. Online Petition Exclusions: If you cannot find the desired assets online, you must file your petition in writing at tha address
        listed above. For more details regarding what assets can ba petitioned online, please see the Frequently Asked Questions at
        h~tas:l/www,forieitu~e.ttov/Fili~pPetitionFA£ta.htm.

 Ii. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTR~T COURT YOU MUST FILE A CLAIM. 1l
     you do not ~i e e daim, you wiH waive your right to contest the forfeiture offhe asset. Addffionally, itno other claims ars filed, you may nol
     be ablo to contest the forfeiture of this asset in any other proceed(nq, crfminal or civil.

     A. To Flle a Claim: A claim must be filed to contest the forfieiture. A claim should be filed online or by mailing it via the U.S.
        Postal Service or e Commercial Delivery Service to the FBI, Attn: Forteiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
        1700, FOB, Los Angeles, CA 90024.
     B. Time Limits: A clalrn must be filed within 35 days of the date of this letter; therefore, you must file your claim by 11:58 PM
        E8T on June 26, 2021. See 1B U.S.C.§ 983(a)(2). Aclaim Is deemed flied on the date received by the agency at the
        address listed above.
     C. Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
        other interest in the property end be made under oath, subject to penalty of perjury or meet the requirements of an unswom
        statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C.§ 1748.
     0. Cialm Forms: A claim need not be made in any perticufar form, but e standard claim form and the link to file the claim online
        are available at httos;F/www:forfeiture.govl,~ili~q~laim.htm. See i8 U.S.C. § 983(a){2)(D). If you wish to file a claim online for
        the assets referenced in the asset list of this letter, please use the Notice Letter ID referenced above.

     E. Supportin8 Evidence: Although not required, you may submit suppoRing evidence (for example, title papervvork or bank
        records showing your interest in the seized property)to substantiate your claim.
     F. No Attorney Required: You do not need en attorney to file a claim. You may, however, hire an attorney to represent you in
        filing a claim.
     G. When You File a Claim: A timely claim stops the admfnistralive forfeiture proceeding. The seizing agency forwards the
        timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition for remission or mitigation.

     H•    Penalties for Filing False or Fr(volous Clalma: If you interrtiortally file a frivolous claim you may be subject to a civil fine.
           See 18 U.S.C. § 983(hj. If you intentionally file a claim contalning false information, you may ba subject to criminal
           prosecution. See 18 U.S.C.§ 1001.
     I.    If No Claim Is Filed: Failure to fife a claim by 11:59 PM EST on June 26, 2021 may result in the property being forfeited to
           the United States.
     J.    Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim In writing and send to the
           address listed above. For more details regarding whet assets can be claimed online, please see the Frequently Asked
           Questions at https://www.for(~l~ure.ttov/FilingClamFq~s.htm.

 111, TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
     A. Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
        pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C. §
        9830;28 C.F.R. § 8.15.
     B. To File Hardship Release: The hardship request cannot be filed online and must be in writing. The claimant must establish
        the following:
         • Claimant has a possessory interest in the property;
          • Claimant has sufficient ties to the community to assure that the property wilt be evailabie at the time of trial;
             and
          • Government's continued possession will cause e substentlal hardship to the claimant.
     C. Regulations for Hardship: A complete Ilst of the hardship provisions Can be reviewed at 16 U.S.C. § 9830 and 28 C.F.R. §
        8.15. Some assets aro not eligible for release.
Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 26 of 46 Page ID #:906




 Hesib Siddtque                                            Notice of Seizure

 Asset List

 Seizure Date and Location: The assets)referenced in this notice letter were seized on March 22, 2021 by the FBI at U.S. Private
 Vaults in Beverly Hills, California.

 Forteiture AuthoHty: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C) and the following
 eddltlonal federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C.§ 983 and 28 C.F.R. Parts 8 and 9.

     ASSET ID         ASSET DESCRIPTION                                               ASSET VALUE            ACCTNIW3ERIAL NO
 21-FBI-003264       $173,700.OQ U.S. Currency from Box #1803                            $173,700.00
 21-FBI-003353       71 Pieces of Miscellaneous Jewelry and 65 Yellow Colored                  $1.00
                     Bars from Box #2004
 21-FBI-003373       170 Miscellaneous Yellow Colored Sars from Box #1803                       $1.00
   Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 27 of 46 Page ID #:907

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                                                                                                U.S. Department of Justice
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     ,;                                                                                         Federal Bureau of Investigation
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                            NOTICE OF SEIZUIRE OF PROPERTY AND INITIATION OF
                               ADMINISTRATIVE FORFEITURE PROCEEDINGS
                                     SEIZED PRt>PERTY IDENTIFYING INFORMATION
                     Notice Date: May 20, 2021                        Asset ID Number: 21-FBI-003273

                     Notice Letter ID: 264075(use ID when searching for assets during online filing)
                     Description of Seized Properly: $185,000.00 U.S. Currency from Box #2100

                     I Seizure Date and Location: The assets) referenced in this notice letter were seized March 22, 2021 by the
                       f61 at U.S. Private Vaults in Beverly Hills, California
                     Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981(a)(1)(C) and
                     the following additional federal law:i: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.


 I.         THE GOVERNMENT MAY CONSIDER GI~AFITlNG PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
            OR PART OF THE PROPERTY FROM THE FORFEITURE.

            TO REQUEST A PARDON OF THE PROI~EF:TY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

                                                                                                                             (Petition). If you
            A. What to File: You may file both a cIF►im (see section II below) and a Petition for Remission or Mitigation
               file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
                                                                                                                                      Delivery
            B. To Ffle a Petition: A petition should be filed online or by mailing It via the U.S. Postal Service or a Commercial
               Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
                                                                                                                                    of
               FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt this Notice.
               See 28 C.F.R. Parts 8 and 9.
                                                                                                                        supported by
            C. Requirements for Petition: The petition must include a description of your interest in the property
               documentation and any facts you believe justify     the return of the  property and be signed  under oath, subject to the penalty
                                                                                                                           § 1746.
               of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C.

                                                                                                                             and the link to file the
            D. Petition Forms: A petition need not be made in any particular form but a standard petition form
                                                               forfeit~e.nov/ FilingPetition.  htm.  If you wish to file a petition online for the assets
               petition online are available_at httpS:/lwww
               referenced in the asset list of this letter, please use the Notice Letter re ere     —nce~a~ove
                                                                                                                                                 or bank
            E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork
               records showing your interest in the a~eized     property)  to substantiate   your petition.
                                                                                                                                            represent you
            F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to
               in filing a petition.
                                                                                                                                                    Unit,
            G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture
                                                         ruling o~cial  in judicial forfeiture cases is the Chief, Money    Laundering   and  Asset
                0lfice of the General Counsel. The
                Recovery Section, Criminal Division, Department of Justice. See 28 C.F R. § 9.1.
     Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 28 of 46 Page ID #:908
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 GayloM To~yn .                                                 Notice of Seizure


      H~ Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
         available at www.forfeiture.^ov.
      ~• Penalties for Filing False or Frivolous F'etltlons: A petition containing false Information may subject the petitioner to
         criminal prosecution under 18 U.S.C. E; 1001 and 18 U.S.C. § 1621.
      J. Online Petition Exclusions: If you cannot find the desired assets online, you must file your petition in writing at the
         address listed above. For more details regarding what assets can be petitioned online, please see the Frequently Asked
         Questions at httt~s://www.forfeiture.r,~o~•/FilingPetitionFA,(~,&.htm.

 II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
     If you do not 61e a claim, you wil! waive your~ight to contest fhe forfeiture of the asset. Additionally, lino otherdaims are fried, you may
     not be able to contest the forfeiture of this asset in any other proceeding, criminal or civil.

      A.   To File a Claim: A claim must be fil~sd to contest the forfeiture. A claim should be filed online or by mailing it via the U.S.
           Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
           1700, FOB, Los Angeles, CA 90024,
      B.   Time Limits: A claim must be filed vrithin 35 days of the date of this letter; therefore, you must file your claim by 11:59 PM
           EST on June 24, 2021. See 18 U.S C. § 983(a)(2). A claim is deemed filed on the date received by the agency at the
           address listed above.
      C.   Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
           other interest in the property and be made under oath, subject to penalty of perjury or meet the requirements of an unsworn
           statement under penalty of perjury. .See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C.§ 1746.
      D,   Claim Forms: A claim need not be made in any particular form, but a standard claim form and the link to file the claim online
           are available at htt~s:/1www.fgrfeitureyov/Filin~Clalm.htm. See 18 U.S.C.§ 983(a)(2)(D). If you wish to file a claim online
           for the assets referenced in the asset list of this letter, please use the Notice Letter I D referenced above.

      E.   Supporting Evidence: Although Wort required, you may submit supporting evidence (for example, title papervuork or bank
           records showing your interest in the :;eixed property) to substantiate your claim.
      F.   No Attorney Required: You do not need an attorney to file a claim, You may, however, hire an attorney to represent you in
           filing a claim.
      G.   When You File a Claim: A timely ciairri stops the administrative forfeiture proceeding. The seizing agency fon~vards the
           timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition far remission or mitigation.

      H.   PenalUea for Filing False or Frivolous Claims; If you intentionally file a frivolous claim you may be subject to a civil fine.
           See 18 U.S.C.§ 983(h). If you intentionally file a claim wntaining false information, you may be subject to criminal
           prosecution. See 18 U.S.C.§ 1001.
      I.   If No Claim Is Filed: Failure to file a claim by 11:59 PM EST on June 24, 2021 may result in the property being forfeited to
           the United States.
      J.   Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim in writing and send to the
           address listed above. For more details regarding what assets can be claimed online, please see the Frequently Asked
           Questions at htt~s://www.forfeiture.qov/1=ilin~ClaimFAQs.htm.

 III. TO REQUEST RELEASE OF PROPERT'f BASED ON HARDSHIP
      A. Hardship Release: Upon the filing cif a proper claim, a claimant may request release of the seized property during the
         pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C.§
         9830; 28 C.F.R.§ 8.15.
      B. To File Hardship Release: The hardship request cannot be filed online and must be in writing. The claimant must
_.       ~st~li~h_th~foIlowince_ _          __                                     _       —     _ ---       —
            •Claimant has a possessory interest in the property;
            •Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
                and
            •Government's continued possession will cause a substantial hardship to the claimant.
      C. Regulations for Hardship: A complete list of the hardship provisions can be reviewed at 18 U.S.C. § 9830 and 28 C.F.R. §
         8.15. Some assets are not eligible fi r rE;lease.
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                                                                                            Federal Bureau ofInvcstigation
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v.S.Pri~ate~autts                                     OMNIBUS SEIZURE NOTICE FOR ALL ASSETS
                                                      SENT TO DEFENDANT U.S. PRIVATE VAULTS
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r.

                             NOTICE bF SEI~IIRE OF P'~tOpERT1i''AND I.NFTIATtON QF
                                AD~INI~TRATIVE FQRFEITURE PaOCEEDiNGS
                                   SEIZED PROPERTY IDENTIFYING iWFORMATiON




I. THE GOVERNWIENT MAY CONSIDER GRf+tNTIN~ PETITION8 FOR f~~M1531~N OR MITIGATION, WHICH PARDONS ALL
  (?R-PART OF THE PROPERTY FROM THE FORFEITURE.

       TQ REQUEST A PARDON OF TWE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIf~aTION

       A. What MFile,- You may file both a claim (see sactiom II below} and a Petitiomfor Rem9ssion or Mitigatifln jPetidon~. Ii you
          file only ~ petition and no ane else files a:claim, your petition will be decided by the seizing agenc}r.
       B. To Flle a Petition: A petition should be filed online or by mailing it vla the U.S. Posfal Service or a Commercial Delivery
          Service to the Federal Bureau of Investigation (FBI), Attrt: Forfeiture Patalegal Specialist, 11000 Wilshire Blvd. Suite 1700,
          FOB, Los Angeles, CA 80024. It must t~s received no taker than 11:59PM EST thirty (~0)days of your receipt of this Notice.
          Ses?8 C;F:R. Parts $and 9:
       C. Requirements for PeEltion: The petition mwst include a description of.your interest in the property supported by
          documentation end any fats you beli~eue justify the return of the property and be signed under oath,.subjed to the penalty
          of perjury or meetthe requirements of sn unswom staiemeM under penalty of perjury: See 28 U.S.C.§ 1746.

       D. Petition Forms: A petition need. not be made:In any p9tticular form but a standard petition form and the link to file the
          peiltion onNne are available at                                                      It you wish to file a petition online for the assets
          referenced in the asset list of this letter, please Wse the Notice Letter IQ [efereneed above,
       E. Supporting Evidence: .Although not fegwired, you may submit supporting evidence (for example, lifts paperwork or bank
          records sfiowing your inte~st ih khe seized property) to substantiate your peiftion.
       F. No Attorney Required: You do not. need aA et~omey to fill a petition. You may, hgweyer; hire an attorTiey to regrssent you
          in filing a petition.
       G, P~ti~'wn.(3ranting AuttioAty: The ruling official in 8dmi~sVativefbrteiture cases is.the ~niE Chief, Legal Forfeiture Unit,
       — -miceo~Te enera             unse.       e ru ing~o ici`aT~njudicial fiorFeiEure cases is tfieCfiietl~7ffoney eon er~ng an ssef-
           Recovery SectlGn, Criminal Qivisi0n, Department of Justice. See 28 C.F,R. § 9.1.
       H• Regulattons forPetition; The Regulations governing the peritian process are set forth in 28 C.F.R. Part 9, and are
          available at                  __
       ~• Penalties for    ~itlng False or Friya{ous Petiitl0ns: A petition containing false iriformafion may subject the petitioner to
          criminal prosecution und~rl8 U.S.C. § 1001 and 18 U:S.C.§ 1621.
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U.S.. Private Vaults                                           Notice of Seizure

         Online Patltlon Extlusfonsc It you cannot find the desired assets online, you must file your petition in writing at the
         addte~s listed above. For more det81s regarding whatassQCs can be petltioned online, please see-the Frequently Asked
         Questions at ;          --

tr. TQ CONTEST fHE FORFEITURE OF THIS PROPERTY IN UNITED STATES bISTRICI'CURT Yi~U MUST FILE A CLAIM.
    If you do got Ble a claim, you wi!! waive your rightto contest tAe fprf~lture o/tlYe aSseG AddlGonally, N ao other claims ors Bled, you may
    not be able to contestthe fo1'f~i[u~ of this asset in a»y otherproceeding, crfrnlne! yr civ11.

    A. To Flle a Claim; A dalm must be flied 10 contest the folfeRure. A claim should be filed onNne or by mailing it via the U.S.
       Postal Service or:a Commercial Delivery Service to the FBI,Attn: Forfeiture Paralegal Specaaiist, 11004 Wilshire Blvd. Suite
        1700,F06, Los Angeles, CA 90024.
    B. Time Limits: A claim mgt be fried within 35 -days of the date of this utter, therefore, you must fife your claim by 11:59 PM
       E3T on June 24, 2021. See-18 U:S.C. § 983(a)(2). A claim is deemed filed on the date received by the agency et the
       address listed above.
    C. Requirements for Claim: A claim must be'filed online or in writing, describe the seized propertK, state your ownership or
       od~er interest in the property and be made under oath, subject to penalty of perjury or meet the requlremeMs of an unsworn
       statement under penalty of perjgry. Sea 18 U.S..C.§ 983(a)(2)(C)and 28 U:S.C.§ 1748.
    D. Claim Forms:. A clgim need not btu made.in any particular fiprm, but a standard claim form and the fink to file the claim online
       are avaiieble ~t'                                             __. fee 18 U.S..C. § 983(a)(2)(D). If'ypu wish to file a claim online
       for the assets referenced in #ha asset list of this letter, please use -the Notice Letter ICJ referenced a~ve.

    E. Supporting Edidense: Although not required, you may submit supporting evidence (for example, tltle paperwork or bank
       recordssh. owing your interest in the seized propeRy)to substantiate your claim.
    F. NoAttomey Required: You do not need an aCtomey Io file a claim. You may, however, hire an attorney to represent you in
       filing a claim,
    G. When `You FifA a Claima A timely claim stops the administratide forFeitura proceeding. The seizing agency forwards the
       timely claim to the U.S. Attorney's Office fbr further proceedings. Ynu may also-file a petition for remission or mitigation.

    H.    Penalties:for Fil[ng False or Frivolous Claims; Ii you intemionally file a frtvolous claim you may be subject to a civil fine.
          See 18 U.S,C.§ 983(h). If.you intentionsily fife a clam containing false information, you may be subject to criminal
          prosecution. See 18 U.S.C. § iDU'I.
    L     If No Claim Is F11ed: Failure to file a Gaim by 11,59 PM1M EST on June 24, 2021 may hesult in the property being forteited to
          the United States.
    J•    Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim in wriiting end send to the
          address listed Sbove. For more detaiks regarding what assets can be claimed online, please see the Frequently Asked
          Questions at ..:                _                      _

IIL Tp:RE~UEST RELEASE OF RRflPERTY BABED'ON HARDSHIP
    A. Hardship.Release' Upon the flfing ofia proper claim,, s claim~n4-may request reCease ofthe seized prc~perty during the
       pendency of the forfeiCure proceeding due to hardship if the claimant is able to meet apecifie conditions. See 18 U.S.C,§
       883(f~; 28 C.F.R,§ 8.16.
    B. TO Flle Hafdshlp Release, The hardship request cannot be flied online and must be in writing. The claimant must
       esta6lish.the folloiniing:
           elairtiant has a posae~sory interest in the property;
           Claimant has sufficient ties to fh~a community to secure that the property will be available at ttie time of trial;
               and
           Government's continued possession will cause a substantial hardship to the ciaimsnt.
    C. RegulBtfons for Hardship; A Complete list of the hardship provisbns can De reviewed at 18 U.S.C. § 9830 and 28 G.F.R.§
       8.15. Some assets are not eligible for release.
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U.5. Private Vauhe                                         Noiioe of Seizure

Assef List

Seizure Oate and Lacatlon: The assef(s) referenced in this notice let4er we[e seized on Maroh ~2, 2021 by the FBI at V.S.
Private Vawlts in Beverty Hills, C~lifbrnia.

Forfeiture Authority: The forteiture of this property has. been initiated. pursuant to 78 USA 981(a){1}(C) and the following
additional federal-laws: 1'9 U.S.C. §§ 1602-1618, 18 U.S.C.§ 983 and 28 GF.R. Pacts 8 and 9.

    ASSET ID          ASSET DESCRIPTIQN                                               ASSET VALUE             pCCTNIWSERIAL NO
21-FBI-003917          $1a0;000.00 U.S. Currency hom Box #6712                            $100,000.00
21•FBI-002978          $97;000.00 U.S. Currency from Box #8445                             597,00(3.b0
21-FB1-U0291.9         $7~6',300AU U.S: Currency from Box #5515                           $736,800.
21-FBI-002920          $325,680.00 U.S. Currency from Box #8815                           ~$25',880.U0
21-FBI-042821 ~        $498;800:00 U.S currency from Box #6618-                           $499,SOO:UO
21•F61-002922          $198,950.00 ll:S. Cu~ency from Box#$~90                            $199,950..00
21-FBI-Q42923          $168,500:00 U.S. Gurrency from- BOx #8614                          $188,.50Q.U0
21-F81-002825.         3364;990;00 U.S. Currency from Box #7012                           $364,990.00
21-FBI-00927           $12fS,000.00 U.S. Currency from Box:#7213                          $120',(300.00
21-FBI-U02928          $6;980.Q0 U,~. Currency from Box #6414                               $6;980.00
21-FBI-Q02929           X17,003.00 U.S.: Curr~ney nom Boz #7011                            517,003.00
2y-F81-002830          $14,190.00 U,S. Currencyfrvm Box #Bi06                              $14,190.00
21-FBI-00931           $1,024,900.00 U:S. Currency from 8ox#841?                        $1,024,900.Oq
21•FBI-Od293~          $737,875:U0 U.S. Curcency from Box #8411                           3737,878.00
21-FBI-002x33          $965,775.00 U.S, Currency from' Bax #8311                          $965,775.00
21-FBI-002934          $68,580:00 U.S..Cur[ency from Box #6111                             586,56Q.00
21-FBI-002935          $348,500.00 U:S. GurrenCy.irom Box #8211                           $348;50:0.00
21-FBI-00298           $1?;960.00 U.S. Currency from Box #6212                             $17,960:00
21-FBI-Q02937          $3f32,835.00 U.S. Curcency from Box #8212                          $362,8 .5.00
21-FBI-002938          $1,349,.800.00 U.S. Currency from Box-#7923                      $1,348,900;00
21-FBI.002939          $1.,500,p90,U0 U,S.. Currency imm Box #587'1                     $9,500,090.00
21-F$I-OOF940          $399,000.00 U.$, Currency from Box #5911                           $399,000.00
21-FBI-002941          $503,250AU U,S. Currency from Box #722                             $503,250,00
21-FBI-002942          $90,995.OD W,S:Currency from Box #8023                              $30,995.00
21'-FBI-002843          ~341,5U0.40. U.S. CuRency from 6ox#561:2                          E341,5DOAU
Z1-FBI-002944          31.,4.09,200.00 U.S. Currencyfram Box:#5613                      $1,403,200:Q0
21-FBI-002946          $952.,600.0.0 U.S. Curcency from box #5811                         3952,600;UQ
21-FBI-1702947         $125,000.00 U.S. Currency from Box #5711                           $125,000,00
21-FBI-002849          $960;100.(10 U.S. Currency from Box #5311                          $960,100.00
21=FBI-002950          $1,138,fl30.00 U.S. Curt~ency from Box ~t8409                    $1,138:,030.00
21-FBl-Ob2951           X1.66,246<OO U,S. Eurtencyfrom Box #5212                          $18H,248:00
21•FBI-Ob?953          $168',920.00 U.S. Currency from Box #41                            $188;920.00
21-FBI-D02954          $1;858,SQO:OU U.S. Currency from Box #7321                       $1,856,800.00
21-FBI-002955          $241,41.0:00 U.S. CuRency from Box #5163                           5241,410:00
21-F81-002959          $474,030.00 U:S. Currency from Box #5008                           $?74,030:00
21-FBI-003957           $.8,672::00 U.S. Gurcency from box #6908                             56,872.00
21-F61-002958          $58,SQO.UO U.S. Currencq from gox #6604                             $89,840.00
21-FBI-002959          $30Q,000.OU U.S, Currency from Box #8608                           $300,000.09
21~~81-002960           $718,710.00 ll.S. CuRency fr~nm Box#51HU                          $719,710:00
21,F61-002981        _. $149L400.00 U.S. Currency
                                            _--     from Box #731.5                       3149,4Q0.DO
21-FBI-002962           S48,Qb0.00 U.S, Currency from Box #731T                            $+18,000:bO
21-F81-002963           $300,000.00 U.S. Curcency from Box #3159                          $~OO,OOA.00
21-FBy-002984           $126,200.00 U,S. Currency from Box #5155                          $128,2Q0.00
24-FBf-002985          $1,194,7g0:OD U.S. Curreneyirom Box #40                          $1,1'84,750.00
21-FBt.0U2966•          $218,950.00 U.S. ~:urrency from Box #5158                         ~218,95Q.U0
21-FB1-0b2967           $15'O,000.00 U.S. Currency from Box#51                            $15D,000.OQ
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    U.~, Private Vaults                                    Notice of Seizure

    21-FBI-002868      5390,000,00 U.S. Currency from Box ~l'28                  $390,000;00
    21-FBI-002869      5400;900.00 U.S. Currency from Box #39                   $400,900.00
    21-FBI-002970      $99.,000.00 U.6. Currency frem Box #331                    399,QOO.OU
    21-FBI-OQZ971      $9,000.UO U;S. Currency from Box# 378                       $9,000.00
    21-F81-002972      $8,832.00 U.S. Currency from Box #11                        ~9,932.00
    21-FBI-002973      $59,g80.00 U,S, Culcency-from Box#23B                      $59,080.00
    21-FBI-1102974     $4Q9,500.00 U.S. Currency from Sox #4907                 $4Q8,5UO.U0
    21-FBI-002975      $24,300.00 U.$: ~urcency from Box #'10                     $24;300.00
    21-FBI-002977      $89;180.00 U.S. Currency from Box #5104                    X6.9,180:00
    21-F81-~U2978      $288,820.00. U.S. Currency fram Box #8                    ~288,S~O,DO
    21-FBI-002880      $399,700.00 U.S. Currency from Bbx #5.007                $98.9,700.00
    21-FBI-00298.1     $36,1.81.A0 U.S. GuRency from B.oz #4906                   $38,181.00'
    21-FBI-002982      $53,840:00 U,S. Currency fram Bo~c #130                    $53,$40.00
    21-FBI-0029$3      $A2,OQQ.00 U.S. Gur~ency from Bqx #6                       $62,000.00
    21-FBI-002884      $SU~,Q~0.00 U.S. Currency from Box #3y0B                 $500,000.00
    21-F~1-0i)298b     $1,f104,000.00 U.S. Currencq firom Bnx #4306            $1,000,000.00
    21-FBI-002988      $252,900.00 U.S. Currency from Box #3105                 $252,90fl.00
    21-FBI-002997      $199,900.OQ U.S. Currency from Box #48D6                 $199,800.00
    2T -FBI-002988     $'f80;10p.00 W.~. Curre~Cy from Box #3                   $190,10UA0
    21-FBI-Q029g0      $32,]11.00 U.S.,Curreneyfrom Boz#7409                      532,111.00
    37-FB1-003893      $299;94Q:60 U.S. Currency from Box #48                   $2~9,940.OQ
    21-FBI-002894      $48,970.00 U.S. Currency from Box#233                      $46,970.00.
    21-FBI-002995      $219,250.00 U,S. Currency from Box ~l44                  $219,750:DO
    21-FBl-002996      $241,415.W U.S. Curcen~y from Box #31A2                  32~1,4'I.5..00
    21-F8f-00297       $150,900.00 U.S. CUrren~y frgm Box #49                   $150,900.00
    21-F81-002998      $43;460:00 U,S. Currency from Box #2205                    $43,460:00
    21-F61-002999      $22;630.40 U.S: Currency from Box #815                     X22,630.00
    21-FBI-003000      $:49,200.OD U.S. Currency from Box #38                     $A3,2QQ,00
    21-FBI-aQ3001      $11,780.00' U:S. Currency from Box #229                    $11,7$O.QQ
    21-FB1-0030g2      $25,000:00 U.S. Currency from Box #716                     $26,000.~.
    21-FB1-003003      $45,900.00 U.S. Currency from Box #31Q3                    $45;900,0.0
    21-F8l-003004     $18,45Q.00 U.S. Currenayfrom.Box#227
                                                        -                         $18,450.00
    21-F81-003005      $~Q;000.00 U.S. Currency from Box #7617                    ~o;000.ao
    21-FBI-003006      $83,280.000:S.CurrencyfromBox#713                           $98,260:00
    21-F61-003.007    $76,050.00 U.S. Currency fiom Box #224                       $76,Ob:0.40
    21-FBI-003008      $70,000.00 U.S. Currency frem Box#3100                      $70;OD0:00
    21-FBI.003D09      $46,800.00 U.S. Currency from Box #125                      $46,800.00
    21-F81-0030.10     $62,400.D0 U.S. Currency from flox #7515                    $62,400:00
    21-FBI-OA30.12     $285,4?0.0 U.S. Currency from. Box.#1005                   $285,470,
    21-FBI-UQ3013      $69,9UO.Q0 U.S. Currency from Box#33                        $B9,90n.00
    21-FBI-003014      X35,000:00 U.S. Currency from Sox#222                       $~i5,Q00.00
    21-FBI-003017      x81.0,000.00 U.S. CUrrenxsy from Bbx #5005                 $810,000:00
    21-FBI-003018      s45,500.Ob U.S. Curcanc~rhnm Box #?2                        $45,50U,n0
    21-FBI-00301'9     $172,000;00 U.S, €uRency hom Box #117                      $172,OOb.00
    21-FBI-003D21      $13,BC10.OQ U.S: Currency from Bpx #1205                    $13,500.00
    21-FB1-003022      $50,fi50:00 U.S. Curcenry frpm Box-#615                     $90,650.Q0
    21-FBI-003423      $1'21;900.00 U:$. Currency from Box #218                   $721,900.00
    21-FBI-003024      $21,901.00 U.S. Currency from Bax #221                      $21;901.00
_ _.2i-Fsi-ao3o25 ___ _$34,Q44~40 4J,~. _~s~rrengr from @ox #13. Q4            __ _~3U,000.00
    21-FBI-p03a26      3238,900.00 U..S. Currehcy from Box #318                   X238;900.00
    21-FBI-U63d27      585,000:00 U.S. Currency from Box #7514                     $85,000.00
    21-FBI-003028      $15,000.Od U.S. Currency from Box #1404                     $15,000.pO
    21-FBI-003029      $172,340.00 U.S. Currency from Box #321                    $172,34.0.00
    21•FBI-D03U30      $t9,970:00U:$, Currency from:Box#1'504                      $19,970.00
  Case 2:21-cr-00106-MCS Document 64-3 Filed 08/19/21 Page 33 of 46 Page ID #:913




   U.S: Private Vaults                                       Nonce of Sei2ure

   21-F61=003031          $26,QOD.00 U.S. Curt~ency from Box #25                      $38,000.00
   21-FBI-403032          $105,20U.00 U.S. Currency from Box #21                    $105,20U.00
   21-FBI-003033          $628,74U.00 U.S. Currency from Box #1805                  $628,740.00
   P4-FBI-Q03034          $51,385.00 U.S. Currency fto~n Box #20                      $51;385.OU
   21-F81-003d35          L1.45,000.4p U.5. Currency from Box t~1804                $145,000.00
   21-FBA,OD3036          $686,575.00 U.S. Currency from Box #4207                  $698,575.00
  21-F8t-OD3U37           5800,9QU.00 U.S. Currency icom Box #2105                  $800;9D0.00
  21-FBI-OQ3038           $70,360.00 U.S. Currency from Box.#513                      $70,3BO.U0
   2t-FBI-Od3039          $22k,7.00.00 U.S> Curcen~y from Box #4206                  $22e1,700.0U
  21-FBI-Dp30.40          $239,100,00 U.S. Currency from Box #23U5                  $239,1AO.Q0
   21-FBI-D03041          5219,220.00 U.S. Gurcency from Box #2404                  '$21'9,220.00
   21-.FBI-OQ3042         $i~U,175.00 EI.S. Currency from Box #41A7                 $170,175.00
   Zi-FBI-003Q43          $5p,000.00 U.S. Curtency from Box#2505                      $50,000.00
   21-FBI=003044          ~1fi,D00:OD U.S. CuRency from Box #Bt4                      $16,000•00
   21-FBI-00304.5         $?3,204,0.0 U.S. Currency from Box #2604                    $23,204.00
  21-FBI-0Q3046           $21;910.ODU,S.CurnaneyfromBox#112                            X31,110.00
   21-F81~003047          $334,2Q0.00 U.S". Currency from Box #280 4                 $334,200'.00
   29-FBI-003048          $439;200.00 U.S. Currency from Bo~c #409                  $4~9,200.n0
   21-FBI-003051          $353,810.00 kl.S. Gurcency from Box #4104.                $353Y81t7.00
   21-FBI-003052          $2DO,OOO,QO U.S. Currency from Box #4Q4                   $2~O;Q60.00
   21-FBI-003053          $333,000.bO U:S. Currencyfrom Box #505                    $333;000.00
   21-F81-003056          $600,980.00 U.S. Cu►rencyfrom Boz #504                     Sfi~Q,880.00
   21-FBI-003057          $1A9,825.00 U.S. Currenry from Box #604                    $149;$5.00
   21-F61~3058            $669;980.00 U.S. Currency from Box #804                    $669;980.~U
   21-F81-003069          ~r75,BOO.D9 U.S. Currency from Box #809                     $75;600,00
   21-FBI-UO3aB0          $60,OOd.00 U.S. Currency from Bax #11.1                     S~9,OQ0.00
   21-FB1-0b3062          $140,240.00 U,B. CU~`rency from Box ~k38U7                 X140;240,00
   27-FBI-0030fi3         $400,OOD.OU U.S, Currency from Bax #805                    $40Q;000.00
   21-FBI-003Q64          $91,8QO.pQ:U.S. Cprrertcy from Box #804                      $11.,.800.00
   21-FBI=003086          $96,00.00 U,S. Currency fr6m Box #1b8                       ffi96,9QO.OQ
   31-FBI-003b8~          363,408.00 U.S. Currency from Box #106                      $83;408:00
   21-FBI-003068          524,300.00 U.S. Currency from Box #2712                     $24;3p0.00
   21-FBI-003069          $1,182,500.04 U.S. Gu~FencyirQm Box~J38~7               $1,182,500.00
   21-FBI-003071          $163,051.OD U.S, Currency from Box #4706                   $163.,051.00
   21-FBI-UD3C172         $1;809,490:D0 U,S, Gucrency tom Bqx ~4U07               ~1;8Q9,450.00
   21-FBI-003075•         $.34,200.00 U,S. Cwrrency from Box #305                     ~34;200.Q0
   2t-FBI-003077          $176,100.00 U.S. Currency from Box #7732                   $1751Q0.00
   21-FBI-0 3078          $445,0 0;00 U.S. Currency from fox l~60G                   $445;050.00
   21-FBI-00379           $210,000.00 U.S. Currency from Box #7630                   $?10,000.00
   21-FBA-00308Q          $948,404.00 U.S. Cu~ency from Box #4606                    $848,400.00
   21-FBt-003081          $48,800.00 U.S. Currency from Box #2 10                     Sd6;$00.00
   21-FBI-003082           x71,940.00 U.5. Currency from Box #8302                     $71,840:00
   2h-FBI-003D83          $73,700:00 U.S: Currency from Box-#201                       X73;700.00
   21-FBI-Od30B~          $91d,70Q,0U U,S. Currency -from Box #944                   $914,7Q0,00
   21-FBI-003p85          $25,000.00 U,S. Currency from Box #302                       $25,x00.00
   21-FBI-003086           $38,000AO U.S. Currency from Box#49D5                      $38,000,00
   21-FBI-003088           $298.,860.00 U.S. Currency from Box #3506                 $296;860.00
   21=~61-003099          $$41,970.00 U:S. Cuaency from Box ~i49Q4                   $41,170.00
___21=F~L-DIl3p9D        —~400;000.00~,~~~Fencvfrom Box #503                    __ _ $4QO;UAO.OU
   21-F81-Ob3091           $50,000AO U.S. Currency ffvm Box #603                       $SO,000.(10
   21•FBI-003084           $2;OS6~900.00 U.S. Currency from Box #3704              $2,066,8Q0:00
   21-FBI-003095           $31,.800:00 U.S. Currency from Sox #50?                     ~41;6U0.00
   21-FBI-003098           $469,840.00 U:S. Currency iron Box #4508                  $489,940A0
   71-F61-003097           $eD0,00D.00 U.S. Cuecency from Box #k501                  S60U,pQ0.00
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  21-FBI-003098      x613;960.00 U.S. Cu~rancy from box #4006                  $673,960.00
  21-FBI=403099      $457;50Q.00 U.S. Currency from Box #500                   $457,500.00
  21-FB4-003100      $524,370,0 U.S.. Currency from Sox #4805                  $424,3~O.Q0
  21=FBI-0A3f01      $427;820.00 U.S. Currency from Box.#401                   $427;820:00
  21-FBI-Up3102      $~OO,~OO:OU U.S. Currency from Box #yQ3                   $200,000,00
  21-FBI-003103      $7lU,OQ0:U0 U.S. Currency from Box #4804                  $710,DOO;Ob
  21.FBI-003104      $1,0$3,74. Q.00 U.S. Currency from Box#~1704            $1,t!$3,740_QO
  21-FBI-003106      $75,200.D0 U.S. Currency from Box #7920                    $7 ,200.00
  21-FBI-0031.07     $73,890.Q0 U.S, Currency from Box #702                     ~73,890.U0
  21-FBI-003109      $103,000.OQ U.S. Currency from Box #48x4                  $105,000,0
  21-F81-003110      x'10,000:00 U:S. Currency from box #4605                   $10,000.00
  21-FBI-D43111      $143;9DQ,00. U.S.. Currency from Box #8005                $143;9D0.00
  21•fB1-003.112     $S1,D24:OU U:S. Curtencyfrom box #35D3                     $51,024.00
  21•FBI-003193      $340;U50.00 U.S. Currency from Box #80Z                   5340,050.00
  21-FBI-003114      $10,000.00 U.S. Currency from Box #7917                    S10,000.DO
  24-FBI-003115      $69,9SO.Q0 U:S, Currency from Box #7913                    $89;950:Q0
  21-CBI-003118      $76,550.00 U.S. Currency from Box #901                     $76;554:00
  21-FBI-OD31t9      $358;40D.00 U.S.. Curt'ency from B.ox #3507               5358,4flD.00
  21-F61-00.31'20    $48,800.00 US. G1lirency f~bm Box #7911                    $48,800.00
  21.-FBt-003121     $443,000,f10 U.S. Currency from Box #5007                 $443,000.0.0
  29-F81-003422      $190,000,00 U,S. ~urr~ncy from Box if450b                 $t90,000:OQ
  21-FBI-OA3124      $18;200.00 U.S. Currency from Box~7DQ                      ~1'8,20b.00
  27-F61-003125      5748,840:OA U.S. Currency from Box #3305                  g?4@,8~4Q:00
  21-FBI-003126      $85,245.00 W.S. Cunehcgfrom Box#45U4                       $85;2~45.OQ
  21-FBI-003t29      $109,550.00 U.S. Currency ffam Boxi~8D2                   $109,SSO.Ob
  21-FB1-003130      $595,000.00i U.S.Currency from Bax #4404                  $595,000.00
  21-FB{-003131      $519,900.OQ U.S. CuRency from Box #3304                   $519,.940.00
  21-~B4,U03132      $170,~d0AU U.S. Currency from Box #4305                   $1~Q;4,00 DO
  21-f61-003133      $102;080.001 U.S..Currencyrfrom Box~1800                  $102;08Q:00
  21-FBI-003435      $225;000.00 U.S.. Currency frpm gox #34U6                 ~~~5,On0~00
  21-FBI-U031.38     $175,900A0 ll.S. Currency from Box g4991                  $176;900.04
  21-FBI-003137      $22,206,00 U.S, CuRency from Box #5410.                    ~22,208.OQ
  21-FB1-003138      8970,170.QQU.S.Cu[rencyfromBox#3{104                      $370,170.00
  21-FBI-U03139      3248,610,00 U.S. Currency tram 6vx #4900                  $246;690.00
  21-FBl-OQ3140      381,1.OU.0~ U.S. Currency from Bnx#3605                    $81,1DD.00
  21-FBI-00S1~+1     $340;000.00 U.S. Curt~ncy from Box #5409'                 $340,OOD.00
  21-FBI-U03142      $144,620,00 U.S. Currency from fox ~F'1003                5144,620.00
  27-FBI-003143      $10,000.00 W.S. Currengr from Box #3307                    S10,000AO
  21-FBI-003144      $63,820.00 U.S. Currency from B.ox #5407                   $83;820.00
  21-FBI-003196      3156,15b:00 U.S. Currency from Box#3904                   $155,150.UD
  21-FBI-00147       $244:,404.00 U;S. Gurr~neyfror~ Box#92U6                  $244.,400.00
  21-CBI-003148      5589,870.OD U.S. Currency ftom Box #1600                  a59A,870.00
  21-FBt-003149      $1,207,686.00 U.S. CuRency from Box #3747               $1;207;885.00
  21-FBI-OA3150      $145,600:00 U.S. ~urcency ftam Box #204                   $1A5,8U~.00
  21-FBI-003151.     $14.4,100.00 U.S.. Currency frbm Box #11 D2               $144,]QO.OU
  21.FBI-0031:52     $7Q0,000.00 U,S. Currency from fox #3706                  X900,000.00
  21-F91-0Q3153      $63,660.00' U:S. Currency from Box #204                    $83,860.00
  21-FBI-00154       5670,000.00 U.S.- Cumancy from Box #4Q0                   $370;000.00
_ ~,         X55 _ —$3~AAA:9~                        Box #9?05              _ -~36;~0-~Q_
  21-FBI-0031'58     $30,000.00 U.S, Currency from Box #4803                    $0;000.00
  21-FBI-003157      $1,038,900.00 U.S. Currertoy from Box #3019             $1,039,900.00
  21-FBI-003158      $349,750.00 U.S. Currencyfrom Box #4802                   $349,750.00
  21-FBI.003159      ~25U,000.OU U,$. Currency from Box ~t1101                 $250;000.00
  21-Fel-OO~ifiO     5588,9b~.tl0 U.S. Currency from Box #4800                 5589,900.00
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    21-F81-003161        $22,OD0.0.tS U.S. Currency from Box#5308                 3?2,OU0.00
    21-FBI-.OQ3182       $10,1OOAUU.S. Currency from Box~47p1                     31'0,100.00
    21-F61-003163        $140;000,00 U.S. Currency from Box #4700               $1A0,000,00
    21-FBI-003164        $15,DOOAO U.S. Currency fra~n Box #5307                  $75,000.00
    21-F81-003166        $300,404.00 U.S.. Currency from Box #5210'             $200,400.00
    27-FBI-003167        $890,000.00 U.S. Currency from Box #4503               $890,U00.00
    2t-FBI-UO3~88        $50,000.00 lf.:S. Currency from Sox #3203                ~30;00~.00
    21-F81-003189        $T09;800.OQ U.S. Currency from Box #45Q2               $709,90(1:00
    21-F81-003171        $20,000.00 U..S. Currency from Box J~12,12               $2D,000.00
    21-FBI-003172        $1.53,100:00 U:S. Currency from Box #3201              $153,100.00
    21-FBI-003173        $487,280.00 U:S. Cufrency from Box X4403               $487,28Q.00
    21-FBI-003174        $129,000..00 U.S. CurcerYcyfro~ Box #120$              $129,000.00
    24-FBI-003175        $90,000.00 U.S. CnrrenGy from Box #3200                  $90,000.UO
    21-F81;003176        $79,Q09.OD U.S. Currency from Box #400                   379,009.OU
    21-FB1-003177        $9, 50.00 U.S. Currency from Box #1812                     $9.950.00
    21-FBI,U03178        $30,914.00 U:S. Currency from Bnx #1306                  $30,@14.00
    21-FBI-003179        $1b,000.00 U.&.CuRen~yfrom Box #3803                     ~15,000.00
    21-FBI-003180        $30S,000.00 U.S. Currency from Box #4303               $9b5;000.00
    21-F81-003181        $100;000.00 U:S: Currency from Box.#3502'              $1DO,O:OO.OQ
    21-FB1-U03182        $B0,200.D0 U.S. CU~rency-from Box #1412                  $6Q;200.00
    21-FBI-OU3183        $330;02U.OU U.S. CGrre~s:y from fox #4300              $330,020.QD
    21-FBI-UU3184        $50,Oa0,II0 U.S. Currency from Box #3501                 $50,OOQ.00
    21•FBI-003185        $240,000.OU U.S. Curreneyfrom Box #4203                ~244,Of~Q.OU
    21-FBI-003188        $40,200.00 U,$, Currency from Box #181.0                 $40,200,00
    21-FBI-0Q3187        $63,000.00 U,.S. Currency from Sox #360                  $63,000.00
    21-FBI-003188        ~392;530.UU U:S. Currency from Box 4!4202              $392,530.00
    21-FBI-003169        $70,100.00 U.$. Currencyirom Box#1303                    $70,1OD.OU
    21-F81-003190        $100,206.D0 U.S. Curre~icy from Box #4200              $100,20B.0~
    21-FHI-.003191-      $377,850.00 U.S. Currency from Box #3600               $377,850.00
    21-FBI-003192        $321,500.QO.U.S. GurCenCyfrom Box X1302                $321,5U0'.00
    21-FBI-U03193        $86,?00.00 U.S. Currency from Box #3708                  $66;20Q.00
    21-FBI-OQ3'195       $254,120.Ob U.S: Gurrencyfrom Box-#1301                $254,920.A0
    21-FBI-003196        $618;014.OQ U.S. EuRencyfram Box #3702                 581.8,014,00
    21-FBI-003197        $i70,000.QU U.S. Currency from Box #4100               $170,0.00:00
    21-FBI-003198        $41.8,885.00 U:S: Currency from Box #8701              3419,895.00
    21-FBI-003199        $516,900.00 U.S..GurrencyTrom Box #4002.               $516,Bb0:00
    21-FBI-003200        $10,000.00 U.S. Currency from Box #1300                  510;000.00
    29-FBI.003201        $107,524,U0 U.S: Currency from -Box ~i37UU             $107,524.U0
    21-FBI-003202        ~21,000,OD W.S. Currency from Box #3900                  X21;000.00
    21-FBI-003243        $8,560.00 U.S. Curren~y.fror►t Box~1903                    $8.;56b.00
    21-.FBI-0032E1#      $20p,000.00 U.S. Currency from Box #3801               $20.0;004.00
    21-FBI-003205        $23,040.00 U.S. Currency from Box #1402                $223;04Q.00
    21-FBI-043206        ~25~,2i6.00 U.S. Currency from Box #1401               5256;278,00
    21~FBI-003207        $284,792.0011.5., Gurcency from Bbx.#1400              52$4,792,00
    21-FBI-UD3208        y:180,70D.00 U.S.. Currency from Box #5203             $1$0,700'.00
    21-FBI=D032Q8        ~248,OQ0.00 U.3. Currency from Box #52Q2               $218;000.00
    21-FBI,OQ3210        $99,964.00 U.S. Currency from Bqx #5306                   X99;884.00
    24-FBI-003211        $680,000.OQ U.S. Currency from Box #5509               5680,000.00
_- ~3-F~1-QQ~2~2 __      5200 000,00 U.3. Currency from Box #1502                ~20tl,040.00
                                                                                         —     -- -
    21-FBI-003213        $324,800.40 U.S. Cu(rency from Box.#5b08                $224,8OO.Q0
    21-F61-0032.14       $2D;Q00.00 U.S. Currency from Box #29p6                  '$20,000.00
     21-FBI-003 18       $389,900.00 U.S..CuRency from Box #150'0                $389,900.00
    21-FBI-003217        $120,31B.dO U,S. Currency from Box #5610                3120,318.00
    21-FBl-OQ32'18       $117,200.00': U.S. CurcBncy from Box #56Q9              $117,200.00
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     21-FBI-Q03220    $78,118,00 U.S: Curreneyfrom Bax #7826                   $78,116.00
     21-FBI-003221    $222,780.00 U:S. Currency from Box #5709                $222,780.00
     21-FBI-0032 3    $103,815.00 U,S. Currency from Box #1603                $103,615.00
     21-FBI-003223    ~5,0~0:00 U.S. Currency from Box #3827                     $5,000'.00
    27-FBI-OU3224     $53,230.00 U.3: Curreney from Box #8018                  ffi52;250.00
    21-FBI-00 225     $20000.09 U.S. Curr~n~y Nom- Box #5707                   $20,Q00.00
     21-FBI-OD32Zfi   $300,000:.00 U_S. CuRen~y fi'om Box #721Q               $300,000.00
    21-FBI-903227     ~66,6U0.00 U.S. CwRencg ftom Box #56Q8                   $85;50U.00
    21-FBI~OQ3228     $1X6,000.00 U:S, Curpency from box #8014                $106.,000.00
    31-FBI-U03239     $'1.50,100.00 U.S. Currencyftom Box #501                $1b:0,100,00
    21-FBI-003230     $7d,OQ0.00 U.S. Currency from. Boy #5706                 $70,DAO.OQ
    21-FBI-003231-    $230;172.00 U.S, Currency from Box X5703                $231,9.72.00
    21-FBI-003232     $40,000.04 U.~. Currency from Box #5702                  $40,000.OQ
    21-Fg1-003234     $120;800'.00 U.S. currency from Box #5809               $426,800.00
    21•F81-OU323S     $4Q,04U.00 U.S. Cufrency from.fox #5807                  $40,OD0:00
    21-FBI-0Q3236     $11,28Q.00 U.S. Currenry from Box #7627                  $11.,280.00
    21-F8M003237      $61,780.00 U:S. Currency from Box #7727                  $61,780.00
    21-FBI=0Q3238     $30,000.00 U.S. Curiency'fram. Box #5910                 $3b,000AU
    21-FBh:0U3239     $32,D00~00 U:S. Carrensy from Box #8017                  $32,000.00
    21-FBI-Q03240     $707,700.00 U.S..CUrrency from Box #8012                $1'07,700.00
    27-FBI-003242     $83',900.00 U,S: Currency iron► Box#5909                 $83,900.U0
    21-FBI-003243     $64,840,00 U.,S: Currency from Box #8015                 $80;840.Q0
     2t-FBI-.UD324d   $8,000.00 U.S. Currency from Box #'1110                     X8;000.00
    21-F~1-003245     $99,129.00 U,S; currency frt~rn Box #59Q8                599,128 QU
    21-FBI-003246     $4;800:40 U.S: Eurren~y from Box #8013                   $24,800.00.
    21-FBI-OD3247     $5T,000,00 U.S. C~fre[icy from Box:#7632                 $57,000:00
    21-FBI=Q03249     X29,500:00 U.S. Currency fcom Box~F8i16                  ffi~9,5QO.Q0
    21-FB1-~D325U     $b2,100.00 U.3'. Gurren~y from evx'#7720                 ~52,100:U0
    21-FB1-003251     $SU;DOO.OA U:S: Currency from. Box #7812                 $50,000:00
    21-FBl-OQ$252     $19,.842.00 U.S. Currencyfrom Box.#811'2                 $1:9,&42.ff0
    21-FBi-OU3263     $1.5,110.00 U.5. Cufrenc~rfrom Box#707                   $15,'119.00
    29-FBI-003254     $18,OOO.dp U.S; Currency from Box #7619                  S18,QUd.00
    21-FBI-OD3255     526,000.00 U;S, Currency from Box #$1'13                 $26,000.UU
    21-F81-003258     $71,600,U0 W.S, Currency from Box #7616                  $7'1,6Ua.00
    27-FBI-U032S7     $20,900.00 U.S. Currency from Box.#78.17                 $20,900:D0
    21-FBI-OD3260     $104;230.00 U:S, Currency frorri Bax #1902              $104,230.00
    21-FBI.003262     ~72,980.U0 U;3. Currency from Box #1901                  $72,980.00
    21-FBI-OD3263     $19,1OO.OQ U.S. Currency from Bax#7608                   $19,1OQ,00
    21-F81-003264     $973,700.00 U.S. Currency from Box #1803                $173,700,00
    21-F81-OD3285     $500,10.00 U.S. Cucre~cy from Box#6t10                  $500,10Q.00
    21-.FBI-003268    $475,440.00 U.S: Currencyirom Box#20D3                  5475;40,00
    21-FBI-003287     $26?,1DO.D0 U,S. Currency from Boz #2 01                $207,100.00
    21-F81-003288     $549,820.00 U:S: Currency from Box #6109                $849,82Q,00
    21:-FBI-003270    $15,900.00 U:S. CurrBncy trorn Box_#'2'1,02.             ~i5,~0U,00
    21-FBI-003271     $.33;120.OU U.S. Curl'en~yfrom Box#21.:01                $33,120.0:0
    21~F61-003272     5150,000.00 U.S, Currency from Sox #900                 $150,OOOAO
    21-FBI-003273     $165,000,.00 U:S, Cur~en+~y from Box #2100              $185,000:00
    21-FSt-00324      $215,7U0.00 U:~. 'Currency from B.ox #3001              $215;70Q.00
_ __~_Fg~_onA~iS_ _--~at3o_oo~ ~o:LJ_S. Currency from Box #1Z4~ _____ _       5460,000.04-
    21-FBI-003378     $25',000.00 U.S. Curcency from Box-#7716                 325,000.OU
     2T-FBI-003277    $90,0 0.00 U.S. Currency from. fox #7707'                510,000.00
     21-FBI-003178    3225,200.00 ll.S. Currency fiom Box #6207               $225,200.00
    21-FSI-003279     $b0,00Q:00 U.S. Currency from Box.#2298                  $50,000.00
     21-FBI-003280    ~225;390.OU U.S. ~u~rency from Box #30U0                5225,390.00
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 2i-FBI-OU3281          $158,200.00 U.S: Currency from Bax #2201                        $1~8,200AU
 21-FBI-003282          ~500,60U.00 U.S. Currency from Bnx #631U                        $300,6Q0.00
 21-FBI-OQ3283          $46,694.00 U.3. Currency from Box i~2200                         $40,69Q.OD
 21-FBI-403285         $184,9U0.00 U.S. Currency from Box.#2801                        $194,90d.0U
 21-FBI:003286         $104,280:25 U.S. Cumancy from Box #1602                          $104,60,25
 21-FBI-003287          $92,350.00 U.S. Currency from Box #8306                          $92,3SO,OU
21-FBI-003288           X572,704,00 U.S. Currency from Box.#1601                        5572,700.00
21-FBI- 3260            $29;200.0 U.S.: Currencyfrom Box #6108                           $29;2Up.~0
21-FBI-U03292           $268,600.00 U.S. Cu~ency from Box.#1600                        $268;fa0D.00
21-FBI-003293           ~69,610.~Q U.S. Curcency from Box#2744                           X69,610.00
21-FB1-003295          $?O,000.00 U.B. Currency from Box #2409                           $20.000.00
21-FBI-003296          $35,000.UO U.S. Currency from Bvx #17Q1                           $35,g0U,00
21,F61-003287          X35,900.00 U.S. Currency from Box #7702                           X35,900,00
21-FBI-0032.98         5237,556.00 U:S. Currency from Box-#2610                        $23 ,555.00:
21-FB1-0p8299          $183,900.00 U.S. Cumensy.from Box #7103                         $1$3;900.00
71-FBI-003300          556;100.00 U.S, Currency from 8ox#2512                            $80,1UOA0
21-FBI-043301          $99,940.00 U.S. Currency from Bax #7209                           $99,4Q0.00
24-FBI-003302          $83,S60,U0 U.S. Currency from Box #2302                           $83,880,00
21-FBI-0033m3          $T00,10~.00 U.S. Currency from Box #7802                        $1Q0,100.00
21-FBI-00S3Q4          $F0;000.0~ U;S, Currenc~e from -Box #7010                         $2b,000.00
21.FBI-003305          $8$,01 U.40 U,S. Currency from Box #81.04                         58B,Q10.OQ
21-FBt-003306          $89;700:00 U;5. CwRency from 9tix #6203                           $89,700.OU
21-FBI.OD3307          $250,100.Q0 U:~. Currency from Box #2300                        $25fl,1OQ.0U
21-FBI-0039D8          $35,000:00 U.S Gurreney from Box #7800                            $35,000.00
21-FBI-0033D9          $56;800.00 U.S. Currency from Box #2403                           $58,SOO.OQ
21-F81-003310          $497,Q00.00 U.S. Curtency from Box # 403                        $497,90D.00
21-FB6003392           $79;900.00 U.S. currency from Box #7306                           $79,90~.UU
21-FBI-003313          $79.,803A0 U.3, currency frarri Box#2401                          $?9;803.00
21-FBI-40331A          $37,700,QQ U.S. currency from Box #7601                           $37;700.00
21-FBI-00331b          $160,000.OU U.S. Currency from Bok #2503                        $15O,OIIO.UO
21-FBI-003316          $88,700.00 U.S. Currency from Box #71 Q9                          $86,709;0
21-FBI-003317          $4x2,000.00 U:S. Cunerrcy from Box #75fl5                       $412,000.00
21•FBI-U03318          $10Q,000.OU U.S. Currency from.Box ~177iJ0                      $100,0OO,OD
21-FBI-003319          $26(1,756.00'U.&. Currancgfrom Box.#25U1                        $260,758.00
21-FBI-003320          $95,315:00 U.S. Currency ffom Box #251)2                         $95,3'[S.OU
21-F61-0Q3321          $190,000.00 U.S. Gunsnayfrom Box #70U6                          $'1SO,000.DO
21-F81-003324          $28H;700.0(1 U.S. Curcency from Box #2010                       $2$$,700.00
21-FBI-OQ3330          7 Pieces of Miscellaneous Jewelry from Box #6712                       $9.00
                                    1    Cgrtier Bracelet with Diamonc!                       $1.00
                                   'I    Cattier Bracelet -Nail Shape                         $1.00
                                    9    D'ramontl Tennis Bracelet.- Siluer                   $1.60
                                    1    Gold N'ecKlace -18"                                  31.00
                                    1' 2 Tone. Rolex Men's VYatch                             $1.~0
                                    1    Gold with Diamonds Rolex Men's Watch                 $1.OU
                                    1    Platinum Rolex Men's Watch                           $1:00
21-FBi-003331          198 Miscellaneous Cdllectibl~:+~elns from:Boz ~l8518                   S1.OU
                                    5    Gold Krugerands 1 77, 1;928, 1981                    X1.00
                                    3    1892- Vltalking Liberty Gold 1oz. $50 Coln           X1.00
                                    2    1993-1N81king Liberty Gold 1oz. $50 Coin             $1.OU
                          __        2    4~4-ifVelktrigt"rherty~olctlor. SrSB£otrt            $t.flQ
                                    8    1887-Walking Liberty Gold 1oz. S50 Coin              S1.OU
                                   10    1998- Walking Liberfiy Gold 1oz, $50 C~I~            $1.Q0
                                   1'l   1'99.9-1Nalking Liberty Golc!'toz. $50 Coin          $1.OU
                                    3    2000- Wslking Liberty Gold 1oz: $5Q Coin             $1..00
                                    1    2001-Walking Liberty Gold 1oz. $50 Coln              $1.00
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 UPS: Private Vauks                                        Notice of Seizure

                                   1     20U2- Walking Liberty Gald 1oz. $50 Coin     x1.00
                                   5    2003-1Nalking Uberty Gold ioz, X80 Coin       x1.00
                                  10     2004- Walking. Liberty Gold 1oa. $50 Coin    X1,00
                                  12     20U5- V~alkfng Liberty Gold 1oz.$50 Coin     $1.OU
                                   4    2006- UValking LlbeRy Gcld 1oz. X50 Cain      $1',00
                                   4    '2008- Walking Liberty Gold toz.$5D Goin      $1.OU
                                  18    2009- 7lValking Lfber~y ~o1d 1oz.$50 Coln     $1.00
                                   S    2090- Walking Liberty Gold 1oz. X50 Caln      $1:.d0
                                  13    2011-Walking Liberty Gold 1oz. $SO Coin       X1.00
                                   5    201.2- Walking Liberty Gold .l oz. $50 Coin   $1.Ob
                                  11    201 • UValking Liberty Gold 1oz. $50 Coin     $1.00
                                   1    2014.1Nalking Liberty Gold 1oz. $50 Coin      $1,00
                                  17    2015- Walking ~iberiq Gold 1oz. $50 Coin      $1.00
                                   9    2016-1Nalking Libsrty.Gold foz.:$50 Can       $1.00
                                   8    2017- Walking Liberty Gold 1bz. $54 Coin      $1.00
                                   9    19$6- MCMLXXXII RomSn                         $1.00
                                        Numeral -Walking Liberty Gold 1 oz. $50
                                   8 198- MGML3CXXVII Roman                           $1.00
                                        Nurneraf -Walking Libertar Goltl 1oz. 350
                                   7    X986-11AGMLXXXVIII Roman                      .$1..00
                                       'Numeral -Walking Uberty Gold 7oz. $50
                                   4 1989- MCMLXXXfX Roman                            $1.00
                                        Numeral -Walking Liberty Goltl toz. $5A
                                   2 1990- MCIW(C Roman Numeral -Walking              $1..00
                                        Uberty Gold 1az. X50-.Coin
                                   2 1991- MCMXCI Raman Numeral -Walking              $1.00
                                        Liberty Goid 9oz. $50 Can
21-F81-003332         8$0 Miscellaneous Collectible .Coins & 1 puece ofjewelry from   $],00
                      box #1304
                                240. 2~~E- Walking liberty 1ozFin~ Sliver- One        $1 A0
                                        Dollar Cofn
                                 80 Zd19- Walking Liberty 1oz Fine Silver -One        $1.Q0
                                        Dollar Coln
                                140. 2018- Vllalkkrg Liberty 1 qz Fine Silver -One    $1.p0
                                        Dollar Gdin
                                1'60 2019- Walking Liberty i oz Flne Silver -.One     51.00
                                        DoUa~ Coin
                                 30 2011- Liberty Indian Head 1oz Fine                $1.Q0
                                        Oold - X50 Ccsin
                                 40 2012 -Liberty lntlian Head 1oz Fine               $9.00
                                        bold -$50 Cdin
                                  1Q    2017- Liberty Indian Head 1oz Fine            $1.00
                                       Gold - $50 Coin
                                140 2018- Liberty Indian Head 10~ Fine                $1.00
                                       Sharer - $50 Coin
                                 40 2019- Liberty Indian Head 1oz Fine                $1,p0.
                                       Silver - $50 Coln
                                   1   Tiffany Key Pendant with Chain                 $1.OQ
21-F81-003393         10 Gold Bars from Box#44                                        $1.00
                                   1    1oz Credit Suisse Gold Bar                    X1,00     209784
                                   1   1pz Credit Suisse Gold Bar                     $1.00     209757
                                   1   inzCeedit Suisse..GoldBa[                      ~t.OII    24~Z~fl
                                   1   1 oz Credif Suisse Gold Bar                    $1.00     299755
                                   1   1oz Credit Suisse Gold Bar                     $1.00     176x27
                                   1   1oz Credit Sufase Gold Bar                     $1.00     209750
                                   1   1 oz Credit Suisse Gold Bar                    $1.00     209751
                                   1   1 oz Credit Suisse Gold Bar                    $1.00     209752
                                   1   1 oz Credit Suisse Gold Bar                    $1.00     209753
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                                          1    iaz Credit Suis$e Gold Bar                     $1.00     209754
  21-FBi-Og3334             1 Gold Bar 8~ 6 Pieces of Miscellaneous ,Jewelry firom Box        X1.00
                           #5311
                                          1    Metafer- 1 fCilo Gold. Bar                     $1.QQ     14258012
                                          1    Gamier Ldv~ Rase Gold Bracelet                 $1.OQ     BUE349
                                          1    Cadier Love 18kt Brac~iet                      $1.Q0     AGA833
                                          1    CattierL~ve Ring                               $1,00     EFf594
                                          t    Men's Ring - 18kt Yellow Go{d                  $1.OQ
                                          1    Tiger Eye- Unknown ItirFetai Pendant           $1.00
                                          1    Cartier Naii Bracelet 18kt Rnse Gold           $1.00     DUD135
  21~F91-X03335             i. Go1d Bar from Bax #224                                         $1.00
                                          1    UBS 1 tSilo livid 9J9:9                        $1:Q0     D276~7Q
  21-FBE-403386            15 M~sC~lfanei~us CoUc~ctible Coins from E3nx #90                  $9.OU
                                         14    201 Commemorative 1oz uilverGoin               $1.00
                                          7    Ganada 1tn Fine Gold $50 Gain                  $1,00
  21-FSI-tt03338           24 MlsceNaneous ~oliectib3e Goins from Box #661A                   X1.00
                                        20 3tandPng Libet3y f or-Fine. Gold $50 Coin          $1.00.
                                          2    Standing Liberty ioz Fine Gold $50 Goin        $1.0(7
                                          1    Standing Libertp 'tl2oz Fine Gold $25 Goan     $1.Q0
                                          1    1914 Roman I-l~ead - Cyald Coin -with 1        $i.00
                                               Container
  21-FSI-003340            51 IVfiscellaneous Gollectibls Coins from Box #8311                $1.00.
                                          9 $140 1oz Platinum C~En~                           $1.Q0
                                          9 $10Q 1az Plafinum Coins                           $1.00.
                                          9 $1001bz Pia#inum Gains                            $1:00
                                         04 $&0 'ioz Plafinum Coins                           $'I.fJ~
                                         14    10~ FAMF'Suisse one Gold                       $1.D0     G257d57
                                         14    ivz f'AMP Suisse Fne GoPd                      $1.00     C257458
                                         14    1oz PAMP Sui,se Fine Gold                      51.00     C257459
                                         14    1oz DAMP Suisse Fine Gold                      $1.00     G257460
                                         74 1oa PAMR Suisse Fine Geld                         $1.Q0     C257461
                                         14    1oz PARAF Suisse Fine Gold                     $1.00     C257462
                                         14    1oa PAN1P Suisse Fine Gotd                     $1.~      0257463
                                         14    1oz PAMP Sursse Fine Gold                      ~Z.00     0257464
                                         14 'Iaz PAN1P Suisse Fine Gold                       $1.00     C2S7465
                                         14    1oz DAMP Suisse Fine Gad                       $t:00     C2574fi6
                                         14    1oz DAMP Suisse Fine Gald                      $1.00     C257d67
                                         14 1~iz PRMP Suisse Fine Goid                        $1.00     C2574$S
                                         14    1aZ DAMP Suisse Fine Gold                      $'f.00    C257~89
                                         14    1oz PRMP uisse Fins Gold                       $1AD      0257470
  2t-f8i-003343            26 Miscellaneous Yellowand White Colored Coins from Sox            $1.04
                          #1401
  21-F81-003344            385 Nfisce►laneous Vett~x Colored Coins t'rorn'Box #4100           $1 00
  21-FB1-D033d5            94 Miscellaneous Y~Ilow Caloced Cans and Bars from Bvx             $1.00
                           #1502
  21-F81-Q03347            59 Miscell8neous YeECowand Waite Colored Gains and Bars            $1A0
                           froth Box #3900
  21-FBI-003348            1a Miscellaneous Ye11ow Col9~ed Ctiins from Box #8014              $1.04
  21-FB1-003349            325 Miscellaneous Yellow and White Colored.Coins, and              $1.00
                           Mist~llaneous BaEch bf Chins #rtym Box #2906
                           5b PleGss of Miscellaneous Jewelry, ~48 Miscellaneous Yelkow       X1.00
__ 21-FBI-0033.50
           __           _ -a         ~ C6tbT8~~YsTts~, arsd 9 Yt~t~aw C~1~rect Tars iTom  _
                           Box #380.3
  21-FBI-003351            8 MisceAenenus Pieces of Jewelry from Box #7812                    $1.Od
  21-FBf-Q03352            88 MisCe!I~neous Pieces Qt Jewelry from Bax #7207                  $1.40
  21-FBI-003353            71 Pieces of Miscellaneous Jewelry snd 86 Yellow Colored           $1.OQ
                           Bars.from box #20 4
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21-FBI-003354        4 Miscellaneous Pieces of Jewelry from Box #8.113                      $1,00
21-FBI-003355        29 Miscellaneous Yeliow Colored Coins trom.Box #801.6                  $1.00
Z1-FB1-003356        6 Misceilaneous Yellow Colored Bars from Box #5703                     $1.00
21-FBI-Q03357        5 Mlscellarteous Pieces of Jewelry from Bqx #S7d~                      $1.U0
21-FBI-0033.58       354 Yellow colored Goins from Box #59Q9                                51.00
2'T-F61-003359       67 Miscellaneous Pieces of Jewelry from Box #591'0                     $1.00
21-FBI-00336U         t Miscellaneous Piece. of Jewelry snd 6 Yellow Colored Gold           $1,00
                      bars from Box #6112
21-F81=003 81        3 Miscellaneous Yellow Colored Bars end 3 Mis'cellaneou8               $1.D0
                     Pieses of jewelry from Box #1500
21-FBI-003362        59 Miscellaneous Yellow anc! Vyh1tA Colored Coins from Box             $1:U0
                     #6408
21-FBI-003363        5 Miscell8neous Yellow Colored CpinB from Box #1801                   X1.00
21-FBI-00336'4       401 Miscellaneous ~'ellowand V►lhite Colored Cofns ar~d 9             $i,00
                     Miscellaneous Yellow snci White Colored Bars from Sox
                     #$307
'21-FBI- 3365        62 Misceilan~eous Yellow Colored: Coins and Bars from Box              $1.UU
                     #1602.
21-FBI-403387        8B Miscellaneoas Yellow and, White Colored.Coins and Bar               $1,00
                     from gox #78Q8
21-FBI-003388        24 Miscellaneous Pieces of Jewefry from Box f~7010                    $1.00
21-FBI-003389        8 Miscellaneous Yellow and 1Nhite Colored Coins from box              $1.OD
                     #2302
21-FBI-Q03370        39 MisEellaneous Mellow Colored Coins from Box.#18U0                   $1.00
21-FBI-003371        1'9 Miscellaneous Pieces of Jewelry from Box #71Q9                     $1.00
2'1-FBI-003372       ~ Miscellaneous Yellcvv Colored 8ers from Box #2501                    $1.00
21-FBI-003373        170 MiscellaneowsYellow Cislored Bars item BGx ~l78~3                  $1:D0
21-FBI-003375        77 Miscellaneous Yellow and Vllhite Colored Coins from Box             $1.00
                     #2502
21-FBI-003376        80 Miscellaneous Yetlow Cored Eoina antl Bars 1mm Box                  $1.OU
                     #2503
21-FBI-0.03379       5 Miscellaneous Collectible Coins from.Box ~F6908                      $.1.00
                                  1    1878 George T. Morgan $1.00 1oz Pure                 $-1.00
                                       Gold, Coin in Display .Box
                                  1    20U7 fYatural Series ~o1d Coln Set -1 spot           $1,fl0
                                       missing coin in display box
                                  1    1893 Gold $10 Coln                                  X1.00
                                   t   1g89.C~ol~ $20 Coin                                 $1.00
                                  1    1910 Gold Liberty Indian Head $5 Coin               $1.00
21-FBI-003380        2 Miscellene~us Men's Watches-from Box #86U4                          $1.00
                                  1    RplsX Men's Silver UVatch wi#h Black Face           $1.00
                                  1    Rolex Men's iNatch.2-Tone with flue Fsce            $1.00
                                    -  with green Felt Bag
21-FBt-003381        26 Pieces of Miseellaneaus 1Nomen's Jewelry from Box X103             $1,00

                                 1      26 Pieces of Wvmens Jewelry                        $7.OD
21-FBI.003382        88 Miscellaneous   Jev~elry and Watches from Box #5158                51:00
                                  8     Men's UUatches in Pouch                            $1.00
                                  8     Men's UVat~hes in Pouch.                           $1.00
                                  6     Men's Y118fches In Pouch                           $1.00
                      ___     - B __ nnen~s w9rcnes InPo~ch                     ___   ------ ~1QQ
                                 7      Men's Vlratches In Velvef Bag                      $1.0:0
                                 1      Watch in Velvet F3~g                               St:00
                                 4      Vlfatahes in Pouch                                 $1.00
                                 6      hAen`s Watches: in Pouch                           $1.00
                                 ~1     Men's YVa#Cites in Pouch                           $1.00
                                 1      UVatrh in Velvet Bag                               $1.00
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                                      6     Watches 9n Veluet Bag                           $1:00
                                      5 V1latches in Velvet Bag                             $1..00
                                      3 Wetehes in Velvet Bag                               $1.O,Q
                                     25     Ladles J9welry                                  31.00
 21-FBI-003383            258 Gold I~go3s &'fold ~olared Coins frpm Box# 5Q05               X1.00
                                     50     RAMP Containers; 251oz Gold Ingots in           $1.OU
                                            each
                                      50    PAN1P Containers; 251oz Gold Ingots in          x1.00
                                            each
                                     50     Plastic Conteinters; 25 1oz Gold Ingots in      .$1.00
                                            each
                                    103     Gold Colored Cans                               $1.00
                                       3    Pi4A~P Suisse Gold Ingots                       x1.00
31-F81.003384.            22 Colleckable Colns &2Silver Bars from Box #8                    $1.00
                                       5    Silver Colored Coins                            $1.00
                                      17    Gold ~blored Coins                              $1.Q0
                                       1    Johnson M~tthey 7Q.pz SilverTroy Bar            $1.00'    612507
                                       1    10,300 Troy oz 5il~er Bar                       $1.00
27-FBI-003385             Miscellaneous Precious Items.from,Box 5408                        $4.00
                                     58     Coirt, YeIlpwMetal Color                        $7.QU
                                      19 Ingot,.5g Yellaw Metal Color                       $7,04
                                       6    Ingot, 2:SgYellow Metal Gblor                   $1..00
                                     14 Ingo#, 'ig Yellow Metal Color                       $1.00
21-FBI-UU3.387            10 Gold Bars from Box #71$                                        $1.Q0
                                     10 Geld Colored Bars                                   $1.00
21-FBI-003388             20 Miscellaneous CollecG6le Coins & 1 Gold Colored Ber from       $1.Q0
                          Box X71.3
                                     20     Mfscellaneoue Gald Colored Coins                $1.U0
                                       1    Gold.colored Bar                                $1..00
21-FBI-003389             100 Gold Colored Qofns ($50~from Box #41 U7                       ~1,~0
                                    100     Gold Colored Coins ($5U,)                       51 00
21-FBI-UD3392             1 fold Colored Bars &2 CoInS from Box       i                     $1,00
                                     18     Goid Colored Bars.                              X1.40
                                     10     Gold 'Colored Coins                             $1.00
21-FBI=0Q3393             77 Miscellaneous Collectible. Gans from Box#22                    $1.00
                                     42     Miscellaneous Collectible Coins in Blue Box     $1.OQ

                                     34     Miscellaneous Collectible Coins in Blue Box     $1:00

                                       1    I~iliscellaneaus Collectlbl"e:C'oins in Clear   $1.00
                                            B;Ox
21-PBI-003394             13 Gold Colored Bars from Box#513                                 $1.00
                                      1~    Cold ~obred $ors                                $'1.00
21-F81~003398             79 Miscellaneous Collis & 3T V1lhite 8a~s from Box #6512.         $1.00
                                      19 Golns                                              $1.00
                                     32 32.Wh[te Metal Bars                                 $'9..00
                                       5 Whlte BBis                                         X1.00
                                       3: 3 Gontaii~rs                                      $1:OA
21-FBI-003397             Mise. Coins and Bars from Bcx #~04                                $1.00
                                       2 PAMP SWI55E 2.Sg Fine Gold ingot                   $1.00
                                       2 Artrericen Eagle 1oz Fine Gold $SO Coins in        $1.00
__                            _ --- - _ __ . ue~rySox
                                       1   Standing Ubecty 1f2oz Fine Oold $25 Coins        $1.00
                                           in Blue Display Box
                                       8 Canadian $70 Gold il4oz- Fine Gpld'Coin            $1.00
                                       1   10oz Tray Silver 999 +Bar                        X1.00
                                       1   Standing liberty 10~ Fine Gold.$50 Coln          $9.00
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                                   9     Grant 1Nood Cr~mmemoretive Coins                 $1.U0
                                   3     Merian.Anderaon Commemorative Coins              $1.00
                                   4     $iD0 Canadian Gold Coins.                        $1:00
                                   1     S50 Canadian Gold Coin                           $LOQ
                                   1     $100 CanadPen GoldCnin                           $1.00
                                   2     112oz fold ,Coins US,P~                          $1.OU
                                   2     11'20 Canada Gold Coins                          $1:00
                                  1~     1/4nz Canada CSoid Coins                         $1.U0
                                   3     One SuisseTroy oz 998.9 Flne Gold ingots         $1.OU

                                   1    One oz f<rugerrand Pine Gold Coin                 $1.00
                                   9    $:100 Australlarr Platinum Coins in               51.00
                                        Cgntdi.~terS
                                   2 112az Canada Platinum Coins                          $1.00
                                   4 1l20~ LibertyPlatinum'Coins                          $1.flU
                                   1    4oz platinum Isle of Man Noble.Coin               $1 AO
                                   1    1az Platinum Snritzedand Coln                     ai.00
                                   1    1az Canada Platinum $SU Coirt                     $f.04
                                   2 '~oz:Canada Platinum $8U Coins                       $1.00
                                   2 1oz Liberty Platinum $9 Coins                        X1.00
21,F61-003398         Misc. loins and Bars from Box.#62D9                                 $1.0.0
                                  17 DAMP Suisse 7 Troy oz 999.8: Fine Gpid               $1.00
                                        Ingots
                                   2 Suisse 1oz Fine Gofd 989.9 Ingots                    S1.Ob
                                   3 DAMP 2012 Lunar Calendar Series                      $7:00
                                       Dragon -Suisse 1oz Fine Gold 999.91ngots
                                  11    Miscellaneous Gold-Colored Coins                  ~1.U0
                                   1   Sunshine MI11dng Inc, 1 Troyr oz Fine Gotd         $1,OU
                                       .9998 Ingot
                                   3 Credit Suisse 1oz 999,9:Fine Goftl Ingots            $`I.00
                                   T   Valcambi Suisse 1oz 989.9 Fine Gvtd Ingot          X1.00

21-FBI-003399         ~Iisc. coins from Box #21'11                                       $1,Q0
                                   83 Ootd-Colp~ed $20 Cans in Individual Pl~stie        $1,QQ
                                         Containers
                                     ~ PAMP Sul.sss 1oz Fine Gold 998',9                  $1:00
                                     1   NTR Metals .9999 Fine Goltl; 1 Troy oz           $1.D0
                                     1   Cartadlan $50 Gold 1oz Fine Gold                 $1.00
                                     1   South Africa Krugercanti fioz F[ne Goid          x1.00
                                   25 RAMP Suisse 1oz Fine G.oltl Rectangular             $1:Il0
                                         ingots in Cantalner
                                   25 DAMP Suisse 1oz. Fine Gold ingot5                   $1,00
21-FBI-00421          Misceilaneaus Precious Items from BOx 3304                         $37.00
                                    'I   Waeh, white and yellow metal color, black        $1.00    J9K323777
                                         dial, labeled F~olex
                                     1   Earring, one. pair, white metal color studs      $'1,00
                                         vuilta near colorless stones
                                     1   VlFatch, rose gold color metal labeled Pigue#    $1.Q0    194498

                                   1  Bracelet, rose gold color metal, threaded          $1:OU     EKC543
                                      with nuts
                                   i -~hairr"apprax.~4inchyettowmetat~ fbncY             ~4.9Q
                                      rope
                                   1  Watch, white metal colornear fully s9t with        $1.00
                                      near CClorless stone,, labeled Patek Phlllppe

                                   1    Chain,approx. 30.51nch yellew metal, cwrb        $1.00
                                        link
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                                          3     Coln, yellow metal color, foreign                 $1.00
                                          1     Bracelet, 8> inch metal curb link                 $1..00
                                          1     Bracelet, yellow metal color, nail style          $1.00    DRY943
                                          1     Cha1n, approx; 22 inch yellow metal, curb         X1.00
                                                linit
                                          1    Gbin, 1 oz. The Holy Lend. Mint gofcJ colds,       $1.U0    17251387
                                               20'12
                                          1     Ingot, 1 oz. silver color                         $1 A0
                                          1    Chain, approX.30 inch -yellow meta; curb           $1.00
                                               fink withnearcolorless stones
                                          1    Cf~ain, approx. 3a inch yellow metal,.curb         $1:00
                                               link
                                          1    Chain, approx. 20.5 inch yellow metal,             $1:00
                                               Byzantine link
                                          1    Chain, approx, 20.5 inch. yellow metal,            51.00
                                               byzarltine Hnk
                                          1    Chain, approx. 20.5 inch geilow metal,             X7.00
                                               byz8ntins link
                                          1    Brecelet,.7 inch silver color,:tennis style with   $1.00
                                               near calodeSs stone.Cluste~s
                                          1    Watch, rose gold color labeled Ce[tier             $1:Q0    94238QX
                                          1    Chain, approx. 25 inch yellow metaf,.fancy         $1.00
                                               rope
                                          1    Chaln,approx. 25 inch yellow metal, -fancy         $1.00
                                               cope
                                          1    CMaln, agprox,24 inch yellow metal, fancy          $1.U0
                                               ~p~
                                          1    Watch,. yellow metal.colot labeled Rolex           $1:00    2M8F5013
                                          1    Ring, white meta color with colotiess              $1,00
                                               stones
                                          1    VNatch, vrhite and yelloyr metal oalar with        $1.00    4F2M8192
                                               near coloNess index markers labeled Rolex

                                          7    V1latch, yellow metal color la~aled Rolex          $1.U0    3638A6Y9
                                          1    Ghain, approx. 24 inch yelldw metal, curb          X1.00
                                               link
                                          1    Chain, ~pptox. 30.5 inch yellow metal, curb        $1:00
                                               link with near colorless stones
                                          1    INa[ch, yellow met8i color labeled Rolex           $1.00    E$Z38482
                                          1    Necklace, damaged apprnx.22 Incgh:white            $1.00
                                               metal eolurwifh near colorless stones

                                          1   Chain,appmx: 16 inch-yellc~wrrt~te~;fancy           $1;00
                                              Iink Frith circlet pendantof three Tigures
                                         i fling; rose gold color metal with colored and.         ~1:Q0
                                              near ¢oloriess stones
                                         1    Chain, approx. 24 inch yellow metal,fancy           $1:00
                                              rope
                                         1    GliaiO, approx. 28 inch yellow metal, curb          $1,Q0
                                              Ilnk
                                         1    V1Fateh, yellow metal color; white dial,            $1 AO    V814048
__ _                 _--                      la~eledR~1~          _ _     _
                                         1    Fenclant, wt~iC@ metal color, near fully- set       $1.00
                                              with near colorless stones(TRU)
   21•FBI-003423             Miscellaneous Precious Items-from Box 608                            $4.00
                                         1     Necklace., approx. 11:5 inch white metal           $1.00
                                              colored with near colorless atones and
                                              white bssds
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                                  7    .Earring, one pair of white cator metal with      $1,00
                                        near colorless stones. antl white. beads
                                  1     N~eklace; apprax, 16 inch white metal crolor,    $1.00
                                       chevron design with near colorless stone.

                                  1    Bracelet, apprax. 7.5 inch whiEe metal color,     $1..00
                                       chevron design links with near colorless
                                       stone
21-F81-003424        Miscellaneous Rrecious hems Bax 703                                 $4,00
                                  1    Watch, White colormetai with black dial           $1.Q0
                                  1    Watch, White color metal with near                X1.00    488043YX
                                       eo1orless bezel iabelei Cartier
                                  1    Ring,. White metal color with coal shaped         $h ,00
                                       blue colQ~d stone surcou~ded by near
                                       colorless stones
                               363     Goin,Ye11ow color metal, Walking Uberry,          $'1.Oa
                                       2Q20
21-FBI-003927        Miscellaneous- Precious Items from Box 4404                         $8:00
                                  q    Ingot, 1g yel(gw mefal color                      X1.00
                               128 Ingo#, 2.5g yellow mefal color                        $1.00
                               150     Ingot, 5g yellow metal color                      $1.00
                                  2    Ingot, 5g yellgw rrtetal cbloriiviffl frame       $1.00
                                  3    Ingot, 5g y~low metal color                       $1.00
                                23 Ingot, 1dg yellow metal culbr                         $t.b0
                                  2 Ingot, 1I2 oz. yellow metal solar                    $1.00
                                  2 Ingot, '1 az. yellow metal color                     $7.00
                               1(i6 -Coin, various }reilow metal color                   $1.00
21-FBI-003428        Misoellaneoas Precious Rams feom Box 7834                           53.00
                                43 Cain, Silver Mehl Color                               $1.00
                                51     Coin; YeHoW Meal Colar                            $1.Q0
                                 10    Coin,, Silver Metal Gdl~r                         $1.Q0
21-FBI-003429        Miscellaneous.Precious Items from Box 4203-                        $10.00
                                93 Cain, Silver Metal Colar                              $1.00
                                  1    Coin, Ye~ow Metal Color                           $1.00
                                  5    Ingot, 5g Yarrow Metal Color                      $1.UU
                                  5 Ingot, 1 oa. Yellow Metal Coior                      $1.0~
                                  1    Ingpt; t00g Yellow Metal Go1or                    $1.00
                                  1    Ingot, 6-bah!Yellow Metal Color                   $1.00
                                  2    Bar, 104g Sliver Metal ~vlor                      $1,00
                                 15    Ingot, 1 troy oz. Silver Metal. Color             $1.00
                                  3 Ingot, 1 Troy oz. Silver Metal Color                 $1:00
                                  2 88r, 100 troy oz. Silver Metal Color                 $1.00
21-FBI-00343Q        MiScsllaneous.Precious Items from Bax4902                           51.00
                               269 'Coin, Yellow Metal Calor                             $1:00
21-FBI-003431        Miscellaneo~is Goias from Box 3505                                  $3.00
                                  3 Coin, Sil~ref Metal .Calbr                           $1.00
                                  4 loin, YeAow Metal Colar                              &1.00
                                  1    Coln, Bronze Metal Cefor labeled BttCoin          $1.00
21-FBi-U03432        Miscellaneous Precious Items from Box 505                           $7.00
                                 10    Ingot, 10 oz. Yellow IVteffiI Calot               $1.00
                                 12    Coln, Yellow Metal Color                          ~7.6U
                                  3 Sh~eet~ YeitowMetat~otor                             $"~;Ob
                               213     Coin, Yellow Metal Color                          $1..00
21-FBI-003433        Miscellaneous Precious Items from Box B0~                           $4:00
                                 11    Goln, Yellow Metal Dolor                          $'I.QO
                                  1' Bar;32.150 troy oz. Yellow Metal Dolor              $1.00
                                  1    Ingot, 1 oz. Yell~cw Metal Color                  $1.OQ
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                                    1    Bar, 10 troy oz. Silver Metal Cglor           $1,D~
71-FBI-003434         Mfscellaneows Coinsfrom Box SQ9                                  $1.D0
                                  30 Coln, Silver Metal Color                          51.00
29-FBI-003435         Miscellaneous Coins from Bnx 4fl03                               $2.00
                                 2C1~    Coin, Silvet Metal Color                      $1.00
                                  80 Cafn,1~811ovr Metal Color                         $1.00
21-FBI-003438         Miscellarneaus Precious Iternsfram Box 3501                      $4.00
                                    5 Ingot, 1 oz. Yellow Metal Cobr                   $1.00
                                  1:3 Coin,1(ell4~' Metal Color                        $1:Op
                                    d    Ingot, 1 g Yellow Metal Caler                 a1.0~
                                    3 Bar, 10Q0 gain Silver Metai Color                $1.00
21-FBf-003437         Miscellaneous Precious Itemsfcom Box 11A                         X6.00
                                    1 .Bar, 1000g Silver Metes Golor                   $7:00     A090048
                                  16 Ingot, 100gYellowNlet~l Color                     $1.00
                                    1    Ingot, 1 Voy oz, Y~fiow Metal C61or           $1.00
                                    2 Ingot, SU gram Yellow Metal Color                $1.00
                                    1    Ingot, $ oz. Yellow Metal Color               $1.00
                                    H    Ingot, 1 oz. Yellow Metal Color               $1.OU
31-FBI-063438         Miscellaneous Presidus Items from Boz 3200                       $5,00
                                   17 ingot, 1 oz. Yellow Metal Colgr                  $1..00
                                   'I    Ingot, 2g Yellaw Metal Color                  $1.Op
                                    4 Ingot, 5'.9 Yellow Metal Color                   $1.00
                                    3 Ingoi, 10g Yellow McEal Color                    $1.00
                                    1    Ingot, 1/2 oz. Yellow NFetal Cblor            $1;00
21-FBI-OD3y439        llAiscellaneQus Precious Items from Bnx 35x3                     $1:.U0.
                                    4 Bar, Miss. Silver N{etal Color                   $1:00
21-FBI-0034+40        RAiscellaneous Precious items ftbm Box #4108                    $'lB.UO
                                    B    ~li9ceila~neous 1 oz Gpid Cobred,In~~ta       $9..U~
                                  3Z     Miscellaneows 1 Troy oz Gofd Colored          $1.00
                                         Ingots
                                   16 1 Oz Gbid Colored Ingots.                        $1:00
                                  76 Misce~lans~us 1 oz Gad Colored Ingots             $1.00
                                    3 Miscellaneous 1 oz Gold Gelored Ingots           X1.00
                                  87 Miscellaneous fold Colgred Coins                  $1.00
                                    8 1lfliscelleneous 10oz Geld Colored Bars          53:00
                                    1    1 oz Goltl Cain                               $1.OQ
                                 108     Miscellaneous 1 oz Gold Colored Ingots        $1.00
                                  27      Miscellaneous 1 oz Gold Colored Ingots       $1.00
                                  42 1 Troy oz Gold Coloredingots                      $1.00
                                    3 Miscellaneous 1 Troy oz Gold Colored             $1.00
                                         Jngots
                                   13 1 Oz Gald Colored Cains                          $1:~0
                                   10 MlBcellaneows Gold Colored toms                  $1.00
                                    1    Troy oz Gold Colored Bar                      X1.00
                                   12 Mi5ce11aneoGs 10'oz Qold Colored Bars            $7.00
21-FBI-003441          Miscellaneous Precious Items from Sox #4301                     $B•OU
                                    2 Miscellaneous 1 Kilo Silver ColorQd Bars         $1.0~
                                    3 Silver Colored Ingots                            $1•p~
                                    8 Miscellaneous 10 Troy oz Silver Colored          $1.00
                                          Bars
                                 51d      Miscellaneous 1 Troy oz Silver Colored       $1.00
                                         C~irts
                                   86 Mist~llaneous 1 oz S~Iver Colored Cofns          $T.00
                                   54     Miscellaneous Silver Colored Coins           51.00
21-FBt-003442          Miscellaneous Precious Items from Box #671                      32.OU
                                   75     Miscellaneous 1 oz Walking Liberty Silver    S1.U0
                                          Cobred Dollar~olns in US Mint Container
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U.S. Pmrate VauNs                                       Notfca cfSeizure

                               25    Miscellaneous 1 oz Walking Lftierty Silver    $1.:00
                                     Colored Dollar Coins in US Mint Con3ainer
21-FBI-003443       Miscefianenus RreCious Item9 from. Box ~3i2                   $13.00
                              14U    Miscellaneous Silver Colored Silver Dollar    $'1.00
                                     Cgtns
                               20 SiN~r Colored 'Silver Dollar Coins in            X9:00
                                     Professional Coin Grading Service
                                     Container
                             290. Miscellaneous Silver Colored Gofns               $1.00
                               20    Silver Colored Silver Dollar Coins in         $1.00
                                     ProteBsianel'Coin G~eding Service
                                     Container
                               2Q    SilV~r Colored Silver Dpllar Coins in         $1.00
                                     Professional Cdin Grading:Service
                                     Container
                               3U    Miscell~neaus Sintered Coins 3" Diameter      51.00
                               2~    Silver Colrxed Silver Dollar Coins'in         $1.00
                                     Professional.Coln Grading Service'
                                     Container
                               20    Silver Colored Half Qolfar Coins i~t          $1;OD
                                     Professional Cain Grading Service
                                     container
                               20    Silver Colored Silver Ddllar Coins in         $'1:00
                                     Rrofesslonal Coin Grading Service.
                                     container
                               20    Silver Colored Silver Dollar Cpi.ns in        $1,00
                                     Praf~ssional Coin Grading Serofce
                                     Container
                               10 Silver Colored Haff Dollar Coins in              $1.00.
                                     P~ofesslvnal Cflin Grading SerVlce
                                     Container
                             5D0 SilverColored $5.00.Coins (n Yellow               $1.00
                                     Cont~lner
                                4    Silver Colored Silver Dollar Coins ift        $1.00
                                     Prof~ssione) Coin GredOg Ser~lce
                                     Container
21-FBI;003444       Miscellaneous Poker Chipsfrom Box #5U5                         S3.U0    Poker Chips
                               47    Poker Chip,Label Aria with $25;pOQ            $1,00
                                9    Poker Chip, LabQl Aria with $5,000            $1,00
                                1    Poker Chlp, Label Arla with $100;Q0.0         ~1.U0
